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18                                    UNITED STATES DISTRICT COURT
19                                NORTHERN DISTRICT OF CALIFORNIA
20
21 JOHN ARMSTRONG, et al.,                             Case No. C94 2307 CW
22                      Plaintiffs,                    JOINT CASE STATUS STATEMENT
23                 v.                                  Judge: Hon. Claudia Wilken
24 GAVIN NEWSOM, et al.,
25                      Defendants.
26
27
28
     [4389750.3]                                                                 Case No. C94 2307 CW
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 1                 The parties submit this Joint Case Status Statement pursuant to the Stipulation and
 2 Order entered March 28, 2011 (ECF No. 1868), which provides that “[t]he parties will file
 3 periodic joint statements describing the status of the litigation” every other month,
 4 beginning on May 16, 2011.
 5                                            CURRENT ISSUES1
 6 A.              Plaintiffs’ Enforcement Motion Regarding Accommodations for Deaf, Blind,
                   and Low-Vision Class Members in the BPH Process
 7
                   On November 14, 2023, Plaintiffs filed a Motion to Enforce the Court’s prior orders
 8
     in this case related to providing accommodations for deaf, blind and low-vision class
 9
     members to prepare for and follow-up from parole hearings. ECF Nos. 3525, 3525-1,
10
     3525-2, 3525-3, 3525-4, 3525-5, 3525-6, 3525-7, 3525-8. The parties agreed to the
11
     following briefing schedule for which they will be filing a joint stipulated request to the
12
     Court for approval: Defendants’ opposition will be filed by December 12, 2023 and
13
     Plaintiffs’ reply will be filed by December 27, 2023.
14
     B.            Allegations of Abuse, Retaliation, and Violence by CDCR Staff Against Class
15                 Members
16                 1.     Plaintiffs’ Statement
17                        a.     RJD and Five Prisons Orders
18
                   In response to evidence of widespread abuse, assaults, and retaliation against
19
     incarcerated people who request accommodations and face discrimination on the basis of
20
     their disabilities, on September 8, 2020, the Court issued orders finding remedial efforts
21
     were necessary in order to “prevent further violations of the ARP and class members’
22
     ADA rights at RJD.” ECF No. 3059 at 42. On March 11, 2021, the Court issued further
23
     orders finding remedial efforts were necessary to prevent ongoing violations of the ADA
24
     and ARP at five additional prisons. See ECF Nos. 3217 and 3218.
25
                   After over a year of negotiations, the parties reached agreement on the vast majority
26
27
     1
    Statements are joint unless otherwise delineated as either Plaintiffs’ Statement or
28 Defendants’ Statement.
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 1 of provisions included in Defendants’ RJD and Five Prisons Remedial Plans (“Plans”).
 2 ECF No. 3336. Updated versions of the Plans were filed on March 23, 2022. See ECF
 3 No. 3393, Exs. A, B.
 4                 Following a year of negotiations, the changes to the staff misconduct complaint
 5 process were incorporated into new regulations, and the Notice of Change to Regulations,
 6 22-06, was published on April 8, 2022. On August 11, 2022, Plaintiffs’ counsel received
 7 written notice that Defendants unilaterally changed regulations stemming from the negotia-
 8 tions. Specifically, Defendants removed from regulations the Allegation Decision Index
 9 (“ADI”), the negotiated tool to be used by CDCR in deciding which staff misconduct
10 complaints were sufficiently serious to warrant referral to the Office of Internal Affairs
11 (“OIA’) for investigation. Currently at issue is Defendants’ proposal for an agreement that
12 the ADI will only apply at the six prisons currently covered by court order. The parties
13 have yet to reach agreement on how they will address Plaintiffs’ concerns as articulated in
14 Exhibit A to a prior Joint Case Management Statement (ECF No. 3430) and the Court
15 Expert’s Quarterly Report on Investigations and Discipline (ECF No. 3433 at 4-5).
16                 Defendants have also begun quarterly production of documents in compliance with
17 the Court’s Orders. Plaintiffs have produced multiple reports identifying ongoing failures
18 to hold staff accountable for misconduct. Plaintiffs’ reports evidence incomplete and
19 biased investigations that thwart the discovery of misconduct and, even when misconduct
20 is apparent during the investigation, poor decision-making on the part of Hiring
21 Authorities prevents accountability. A redacted copy of Plaintiffs’ counsel’s most recent
22 staff misconduct report, sent November 6, 2023, is attached hereto as Exhibit A. In
23 response to ongoing reports of problems, “[t]he Court Expert will be working with the
24 parties to develop a methodology for reviewing individual cases in a manner that will
25 allow the parties to reach agreement on shortcomings and craft solutions.” ECF No. 3477
26 at 4.
27                 CDCR is a statewide system. Plaintiffs assert that violations of the ADA and ARP
28 found thus far at six prisons exist system-wide and are committed to bringing such
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 1 evidence before the Court until all class members are protected. Plaintiffs continue to
 2 discuss with Defendants the implementation of their Early Warning System (EWS) to
 3 guard against such widespread abuse by one officer. Plaintiffs remain optimistic that the
 4 EWS can act as a tool to identify and root out staff misconduct, before serious problems
 5 arise. However, as currently designed, the EWS fails to alert staff to serious problems.
 6 See September 11, 2023 and November 10, 2023, letters from Plaintiffs’ counsel regarding
 7 EWS Objections attached hereto, without exhibits, as Exhibit B and C. The parties are
 8 continuing negotiations.
 9                       b.     False, Retaliatory and Discriminatory RVRs
10                 Despite significant progress made towards court-ordered improvements to the staff
11 misconduct investigation and disciplinary system, the endemic use of false and retaliatory
12 RVRs by staff to cover up disability-related misconduct and/or to retaliate against class
13 members who report misconduct remains a problem. See ECF No. 3296 at 9. The same
14 biased review that plagues the staff inquiry and investigation processes also denies class
15 members due process in disciplinary hearings, resulting in longer terms of imprisonment,
16 denials of privileges, housing at higher classification levels, and an unwillingness to report
17 future misconduct or request disability-related help.
18                 As in the staff complaint context, reviewers discount or ignore the testimony of
19 incarcerated people during disciplinary hearings. See ECF No. 3322, Ex. A. Reviewers
20 fail to discover evidence that staff have issued reports that appear plagiarized or otherwise
21 replicate conduct and charges that are improbably attributed to multiple people at the same
22 time. ECF No. 3296 at Ex. C. Reviewers also fail to identify cases where the conduct
23 charged is the result of staff failing to accommodate someone’s disability. ECF No. 3322
24 at 11-12 & Ex. E.
25                 Plaintiffs’ counsel continues to identify class members who have received false,
26 retaliatory, discriminatory or otherwise inappropriate RVRs. The use of RVRs to retaliate
27 against and discourage the filing of staff misconduct complaints will persist unless
28 Defendants take action to identify and root out problems through meaningful reforms to
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 1 the RVR process.
 2                 Defendants have agreed to multiple changes, but Plaintiffs continue to raise
 3 outstanding problems. Most concerning, Defendants have notified Plaintiffs that after
 4 further consideration they will not be implementing a “red flag” in their EWS to identify
 5 when an incarcerated person receives an RVR within a certain period of time after having
 6 filed a staff complaint. Such cases will only be identified if the person files a complaint.
 7 Allegations that staff members retaliate against class members by issuing RVRs for filing
 8 staff complaints are rampant in the system. See Exhibit A at 20-21, 32-33, 42-43.
 9 Defendants assert that, when that happens, incarcerated people can simply file an
10 additional staff complaint. But incarcerated people are reluctant to file additional
11 complaints for many reasons including that the RVR may have eventually been dropped or
12 that they are afraid of further retaliation. The onus is on CDCR to discover and root out
13 this pervasive form of retaliation if they are serious about ensuring the effectiveness of the
14 staff complaint process.
15                 Further, the issuance of RVRs to incarcerated people for filing staff complaints after
16 the complaint is not confirmed remains a significant problem.
17                 Plaintiffs are hopeful that the parties can agree to resolve problems and that
18 additional court intervention will not be necessary.
19                 2.     Defendants’ Statement
20                        a.     RJD and Five Prisons Orders
21                 Notwithstanding Plaintiffs’ concerns and objections related to the recent revisions
22 to the staff-misconduct processes, CDCR’s staff-misconduct investigations and discipline
23 processes are in compliance with this Court’s orders applicable to the six prisons (ECF
24 Nos. 3059, 3060, 3217, and 3218). In compliance with the Court’s September 8, 2020, and
25 March 11, 2021 orders, Defendants have, along with Plaintiffs and the Court Expert,
26 developed comprehensive and effective remedial plans that the parties filed with the Court
27 on March 21, 2022. ECF No. 3393. CDCR has dramatically overhauled its processes to
28 ensure unbiased and complete investigations and, although not required by the Court’s
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 1 orders, Defendants have deployed statewide the processes that restructure CDCR’s staff
 2 misconduct allegation, screening, referral, investigative, and disciplinary processes. As the
 3 Court has noted, “[t]hese agreed-upon measures constitute substantial improvements that
 4 will go a long way to bringing Defendants into compliance with the ARP and ADA at the
 5 six prisons.” ECF No. 3356 at 2. The Court found, the “implementation of these []
 6 remedial measures is likely to have a positive impact on…the overall reliability of the
 7 outcomes of investigations.” Id., at 15.
 8                 The revisions to the regulations, noted above by Plaintiffs, are intended to further
 9 ensure success of these processes by efficiently routing all staff misconduct complaints to
10 the most appropriate entity for investigation. Defendants believe that the process can be
11 improved, in part, by providing additional training to the initial screeners so that these
12 screeners have an improved understanding of what amounts to serious staff misconduct to
13 ensure consistent application of the new process and these revisions seek to achieve that
14 objective. Defendants have collected and shared data to support Defendants’ proposed
15 revisions to the regulations. Defendants will continue to evaluate all information received
16 to monitor compliance with the Court’s orders and to provide adequate resources to ensure
17 the successful transition to these new processes.
18                 Plaintiffs’ foregoing statement that, “Defendants’ proposal for an agreement that the
19 ADI will only apply at the six prisons currently covered by court order” is “at issue,”
20 mischaracterizes the current status because there is no dispute that the negotiated ADI only
21 applies to the six prisons because the Court’s staff-misconduct orders were limited to those
22 six prisons and CDCR’s decision to deploy the process statewide does not alter this fact.
23 Notwithstanding the current status of the proposed stipulation, the ADI remains a
24 significant component of the complete restructuring of the statewide process that has
25 transferred the review of staff misconduct allegations from the local institutions to the
26 Office of Internal Affairs. Defendants have proposed that any stipulation between the
27 parties concerning the ADI accurately reflect this Court’s orders, which only applies to the
28 six prisons. Plaintiffs’ singular focus on the ADI fails to recognize the multi-faceted
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 1 overhaul of the staff misconduct process and CDCR’s other commitments to address staff
 2 misconduct, including its commitment to deploy fixed-camera technology at 14 institutions
 3 in addition to the Court-ordered deployment of such technology at six institutions (20
 4 institutions total), its commitment to deploy BWC technology at four institutions in
 5 addition to the Court-ordered deployment of such technology at six institutions (10
 6 institutions total), and its development of a comprehensive EWS that exceeds the
 7 requirements of the Court’s order, and other measures. Further enforcement orders as to
 8 other institutions is not necessary because this statewide overhaul of the staff misconduct
 9 process remains in effect and “additional litigation,” as contemplated by Plaintiffs above,
10 would only stall productive negotiations between the parties and consume limited
11 resources that could be put to better use elsewhere.
12                 b.    Demands for RVR Reform
13                 Defendants have made significant progress and commitments to address Plaintiffs’
14 demands that CDCR address the alleged practice of issuing false and retaliatory Rules
15 Violations Reports (RVRs). Defendants have committed to and implemented a revised
16 Chief Disciplinary Officer (CDO) and Officer RVR trainings in the Learning Management
17 System, and have implemented a headquarters-level audit of RVRs at 10 institutions.
18 Defendants have completed four quarters of audits and have shared some of the audit
19 results with Plaintiffs. The Senior Hearing Officer Manual was updated to include more
20 details as it relates to CDO responsibilities. Defendants have also committed to audio
21 record serious RVR hearings for internal auditing purposes, and to revise specific sections
22 of the Department Operations Manual that pertain to discipline, including the process for
23 voiding RVRs and roles and responsibilities of CDOs. Defendants have created a new
24 screening process to determine whether a physical disability contributed to the underlying
25 conduct, which was released November 1, 2023, and has begun tracking data related to
26 RVRs in the EWS.
27                 As detailed in a past Joint Case Status Statement, recent developments will
28 effectively address most of Plaintiffs’ concerns related to the RVR process. See ECF No.
     [4389750.3]
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 1 3412 at 14-16. This includes the statewide deployment of the new staff misconduct
 2 investigation and discipline processes, camera and audio technology, and the fact that
 3 statewide allegations of false and retaliatory RVRs will be subject to an investigation by
 4 the Office of Internal Affairs.
 5                 Defendants have agreed to continue discussions with Plaintiffs, along with the
 6 Court Expert, to further address Plaintiffs’ concerns related to the RVR process and
 7 CDCR’s extensive proposed revisions.
 8 C.              Court Expert Investigation Into SATF, the State’s Largest Prison
 9                 1.    Plaintiffs’ Statement
10                 In December 2022, the Court Expert filed his report and recommendations
11 regarding the treatment of people with disabilities at SATF, the state’s largest prison. ECF
12 No. 3446. He found that people with disabilities at SATF are “living diminished and need-
13 lessly difficult lives,” and as a result “face harsher prison conditions, and thus greater pun-
14 ishment, than their peers.” Id. at 4. People were denied accommodations needed to safely
15 and independently perform a wide array of activities, including to eat, perform bodily
16 functions, write, and participate in rehabilitative programs. The Court Expert found that
17 “it was not management that identified these problems; it was Plaintiffs’ counsel.” Id. at 5.
18 Plaintiffs agree with the Court Expert that “much at SATF has to change” and that “SATF
19 has not demonstrated that it is able to self-monitor and self-correct in the manner that
20 would justify a lesser level of scrutiny by the Court and other outside monitors.” Id. at 5-6.
21                 On February 24, 2023, the Court ordered additional review and action by the Court
22 Expert, including a much-needed staffing analysis and development of policies to ensure
23 safe housing of people with disabilities. ECF No. 3467. The Court Expert filed his
24 Second Report on August 24, 2023, and another report will be filed at a later time to
25 address, among other things, ADA staffing, sustainable compliance, and responses to
26 advocacy letters. See ECF No. 3500. As evidenced by the Court Expert’s second report,
27 there is a significant difference in progress between efforts led by California Correctional
28 Health Care Services (“CCHCS”) and those led by the California Department of
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 1 Corrections and Rehabilitation (“CDCR”). CCHCS and the Receiver have developed
 2 several promising measures to address problems identified in the Court Expert’s first
 3 report. There is, however, a lack of discernible progress by CDCR, including on statewide
 4 issues that require action by headquarters.
 5                 The problems identified by the Court Expert are not limited to SATF. Sufficient
 6 ADA staffing, extreme ADA Coordinator turnover, provision of accommodations for deaf
 7 class members who do not know sign language, and adequate policies and procedures
 8 related to disability accommodations and durable medical equipment, for example, are
 9 statewide issues that affect class members wherever they are housed. It is incumbent on
10 Defendants to address these issues statewide, and to not continue the reactive, piece-meal
11 approach that has typified their response to their obligations under the Americans with
12 Disabilities Act and Armstrong for so long.
13                 2.    Defendants’ Statement
14                 The Court Expert filed his second report concerning the treatment of people with
15 disabilities at SATF, and recognized the numerous proactive measures implemented at
16 SATF to further respond to the needs of incarcerated people with disabilities. ECF No.
17 3500. The report demonstrates that the coordinated efforts between CDCR and the
18 California Correctional Health Care Services (CCHCS), with the Court Expert’s guidance
19 and with input from Plaintiffs, are working to effectively respond to the issues raised by
20 the Court and addressed by the Court Expert following his initial investigation. The Court
21 Expert now reports that SATF has made “significant improvements in the delivery of
22 accommodations to class members” and that “the culture at SATF has improved,” since his
23 first report. ECF No. 3500 at 4, 6. Although more work needs to be done, it remains
24 promising that class members have reported to the Court Expert, through personal
25 interviews and survey responses, “improvements in their ability to get the accommodations
26 they needed and in the attitudes of staff.” ECF No. 3500 at 4. The Court Expert reports
27 that through these responsive collaborative efforts, SATF has significantly improved the
28 process for receiving incarcerated people from other institutions and has reduced the
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 1 likelihood that class members lose access to Durable Medical Equipment (DME) or
 2 medication necessary to accommodate their disabilities. Id. The Court Expert further
 3 reports that SATF has also improved the process for collecting and handling patient
 4 requests for medical care (Form 7362s), has improved the processes for issuing, repairing,
 5 and replacing DME (including through the successful relaunch of its in-house wheelchair
 6 repair program), and has significantly improved the delivery of medical supplies, such as
 7 incontinence supplies, to class members. Id. Although work remains to address other
 8 deficiencies, the Court Expert states that the “the current leaders and staff are to be given
 9 credit for the significant effort they made to address the problems” identified in the first
10 report. ECF No. 3500 at 5.
11                 In his report, the Court Expert made additional recommendations to CDCR and
12 CCHCS. As to CDCR, the Court Expert issued recommendations concerning the
13 clarification of policy concerning non-medical assistive devices, the further development
14 of methods to reliably communicate announcements to deaf and hard-of-hearing people,
15 the need for guidance to SATF on how to train the deaf population on the use of caption
16 phones, and the successful implementation of Communication Access Real-time
17 Translation (CART) to eligible class members. ECF No. 3500 at 19. CDCR continues to
18 coordinate with the Court Expert and stakeholders on these and other issues to further
19 respond to class-member needs as more fully detailed in Defendants’ response to the Court
20 Expert’s report filed on September 7, 2023. ECF Nos. 3504, 3504-1. The Court Expert
21 will issue a future report addressing ADA staffing, sustainable compliance with the ADA
22 and the ARP, and modifying the process for responding to advocacy letters. ECF No.
23 3500 at 4. Defendants will continue to coordinate with the Court Expert to facilitate his
24 investigation and to collaborate with him and the Plaintiffs to effectively respond to the
25 concerns raised in his reports to fully accommodate class members in compliance with the
26 ADA and the ARP.
27                 On November 7, 2023, the Court issued an order indicating that the parties had
28 reported different views on how CDCR was doing with respect to accommodating SATF
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 1 class members. ECF No. 3521. The Court ordered the Court Expert to issue an addendum
 2 to his report by November 28, 2023, responding to the parties’ assertions with respect to
 3 the progress, or lack thereof, that CDCR has made in curing the ADA and remedial plan
 4 violations found in the Court Expert’s first and second SATF reports. To the extent that
 5 the Court Expert believes that Court action is necessary to ensure CDCR’s timely
 6 compliance with the ADA and remedial plan at SATF, either in the form that Plaintiffs
 7 propose or otherwise, he shall (1) state so in his report; (2) specify the Court action he
 8 recommends; and (3) explain why the Court action he recommends is, in his view,
 9 necessary to achieve compliance with the ADA and remedial plan at SATF. Id. The
10 parties will have an opportunity to file responses to the supplemental report. Id.
11 D.              Accommodations for Deaf and Hard-of-Hearing Class Members
12                 1.     Plaintiffs’ Statement
13                        a.     Hearing Aid Quality
14                 Plaintiffs met with CCHCS representatives and the Court Expert on September 29,
15 2023, and are pleased to report that the parties agreed that CCHCS shall place the
16 following requirements in future contracts for hearing aids, the first of which they expect
17 to award in January 2024:
18 (1)             All hearing aid vendors shall be registered with the FDA.
19 (2)             All hearing aids shall be fully digitally programmable using digital processing.
20 (3)             All hearing aids must meet the following technical requirements: (a) Five or more
                   channels; (b) Three or more programs; (c) Adaptive directional microphone
21                 technology, unless not technologically feasible due to the size of the instrument; (d)
                   Adaptive signal processing; (e) Noise reduction strategies for steady state and
22                 transient noise; (f) Programs the user can select; (g) Active feedback suppression;
                   (h) Harmonic distortion at 500 Hz, 800 Hz, and 1600 Hz according to the
23                 procedures specified in ANSI/ASA S3.22-2014 shall be less than 8%; (i) Equivalent
                   input noise level measured according to the procedures specified in ANSI/ASA
24                 S3.22-2014 shall not exceed 29 dB. (For power instruments, the equivalent input
                   noise level measured according to these procedures shall not exceed 32 dB); and (j)
25                 T-coil capability, except when not commercially available or not technically
                   feasible.
26
     (4)           Behind-the-ear (BTE) instruments: Ear tips, domes, and sleeves shall be available in
27                 varying sizes and include both occluded and open non-occluding designs. Earmolds
                   must include both standard and half shell styles, and include various venting
28                 options. Custom ear molds shall be available and provided if clinically indicated.
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 1                 CCHCS will ensure that, taken together, the contracts provide a range of models
 2 appropriate for mild, moderate, severe, and profound hearing losses. At least one contract
 3 must include at least one “power” hearing aid model, defined as “a hearing aid which has a
 4 matrix at or above a maximum power output of 125 dB SPL and maximum gain of 60 dB
 5 SPL.” CCHCS will carry models appropriate for each type of hearing loss that include
 6 tinnitus sound generators. However, CCHCS may also carry models that do not include a
 7 tinnitus sound generator. CCHCS shall ensure an effective process exists for incarcerated
 8 individuals to obtain non-formulary hearing aids as necessary to meet their unique hearing
 9 needs. This process may include specialist referrals.
10                 CCHCS will develop a care guide or other guidance that provides timelines and best
11 practices for hearing aid fittings, follow-up appointments, and non-formulary referrals for
12 both hearing aid devices and other otology care. The parties will negotiate the content of
13 the document, with the goal that it allow for adequate availability of hearing aids as well as
14 adequate measures to ensure proper fitting, which is an essential component of hearing aid
15 quality.
16                 Plaintiffs hope that this will remedy longstanding problems with hearing aid quality
17 recognized by both the Court Expert, see ECF No. 3500 at p. 11 (noting continued reports
18 that hearing aids are “low quality and do not work well”) and by CCHCS staff. See id.
19 (“The CEO also identified this [low-quality hearing aids] as a common concern he heard at
20 the RAP”).
21                       b.     Other Accommodations
22
                   CDCR continues to discriminate against D/deaf and hard-of-hearing class members
23
     by failing to resolve fundamental access barriers that Plaintiffs and the Court Expert have
24
     identified for years, notwithstanding dozens of meetings between the parties.
25
                   Accessible Phones. The lack of accessible telephone options on (1) tablet
26
     computers and (2) physical phones throughout prison facilities, including in housing units,
27
     continues to cause discrimination against deaf and hard of hearing individuals. Tablet
28
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 1 computers have been offered to all incarcerated people, for free, enabling hearing people to
 2 make calls from their tablets to their loved ones from the privacy of their cell or on the
 3 yard during most hours of the day, including during lockdown or modified programming,
 4 and also to make video calls in the dayroom. Deaf and hard of hearing people have no
 5 such access. Tablet computers have no accessibility features for calls, such as captioned
 6 telephone services or videophone service. And Defendants report that no captioned
 7 telephone or videophone services will be made available as a result of litigation pausing
 8 their contract with the tablet provider. As a result, deaf and hard of hearing individuals
 9 cannot equally access phone calls with loved ones. This disparity becomes particularly
10 pronounced during periods of lockdown or modified programming, which can last for
11 weeks, when access to traditional phones in common areas—the only phones that have the
12 potential to be accessible to D/deaf and hard of hearing individuals— is limited or
13 nonexistent. Even with regard to traditional phones, a significant number of prisons do not
14 offer any form of accessible phones in housing units at any time, as described below.
15                 Defendants have acknowledged that unequal phone access is an issue, and that there
16 is no uniform solution across CDCR institutions. Defendants do not currently have a plan
17 or timeline for implementing equal access to tablet-based audio and video calls. And
18 while Defendants reported that they have directed that deaf people be provided increased
19 time out of their cell to use accessible phones, they have declined to produce any written
20 verification of such direction, have declined to implement a formal policy requiring it, and
21 have not created any way for deaf and hard-of-hearing people to get video calls so they can
22 see their loved ones, which hearing people get through their tablets.
23                 Furthermore, accessible phones like captioned phones and TTY/TDDs are not
24 located in accessible locations in many prisons, unduly restricting deaf and hard-of-hearing
25 people’s access to them. Based on a survey done by CDCR this year, at least twelve
26 prisons have no captioned phones in their housing units. Instead, captioned phones are
27 limited to program offices, sergeants’ offices, or lieutenants’ offices, subjecting D/deaf and
28 hard of hearing people to physical barriers, waiting lists, and custody officers’ availability
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 1 that hearing people do not encounter when using the phones in their housing units. Other
 2 prisons have captioned phones only in a select few housing units, but not all. See Exhibit
 3 D, November 2, 2023 Letter from Claudia Ceseña & Rita Lomio re Captioned Phone
 4 Implementation.
 5                 At this time, it is unclear to Plaintiffs why institutions have severely restricted
 6 captioned phone availability or whether CDCR intends to make phones equally available
 7 to class members as they are to hearing people. CDCR has also provided no indication that
 8 it intends to make tablet phone and video calling accessible to D/deaf and hard of hearing
 9 individuals.
10                 Effective Communication of Announcements. CDCR continues to lack a
11 comprehensive system for providing and auditing effective communication of
12 announcements. D/deaf and hard-of-hearing people cannot hear announcements made on
13 the yard or in their housing unit, and they often miss notices about medication pass,
14 laundry, cancellations or changes to their programming, medical appointments, ducats, and
15 even meals. For over five months, Defendants claimed to be researching a “technology-
16 based solution” to help deliver announcements to deaf and hard of hearing individuals.
17 Defendants announced in October that this “technology-based solution” is a messaging
18 feature of the ViaPath tablets that has been available on the tablets since being
19 implemented. The messages will communicate only housing-unit wide—and not
20 individual—information twice a day, and it is unclear whether and how it will
21 communicate changes to program schedules such as cancellations, postponements, or
22 rescheduling, which happen frequently in the prisons, and will not be accessible to class
23 members in locations where they cannot bring their tablets, including work assignments,
24 the dining hall, and medical appointments. Defendants shared a draft tablet notification
25 policy with Plaintiffs which the parties will discuss, but it will not be a complete solution.
26 Plaintiffs remain concerned that almost a year after the Court Expert’s first report, there
27 remains no robust and durable system to audit announcements communicated by tablet or
28 otherwise.
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 1                 CART. Over eight months after this Court’s Order regarding Computer-Assisted,
 2 Real-Time Transcription (CART), Defendants have failed to provide information on
 3 whether they will expand CART to education services, have provided conflicting
 4 information about their intentions to expand CART to other programming, and have
 5 provided no information on an expected timeframe for either.
 6                 On February 24, 2023, this Court issued an Order directing Defendants to make
 7 CART or a reasonable alternative available for “due process events, programming, and
 8 education” at SATF “as soon as possible and shall keep the Court Expert informed on their
 9 progress.” ECF No. 3467 at p. 3. Despite their obligation to implement CART as soon as
10 possible and to keep the Court Expert informed, as of August 24, 2023—six months after
11 the injunction was issued—the Court Expert could not say definitively whether Defendants
12 were (or intended to be) compliant with the Court’s Order. The Court Expert, lacking even
13 the most basic information from Defendants about implementation of CART, indicated
14 that compliance with the Court’s Order was an outstanding question. See ECF No. 3500 at
15 p. 12 (“We will have to see whether CART is used effectively in due process events and is
16 expanded to other programs and services.”). Since then, Defendants have made conflicting
17 statements about what programs and services CART will be used for, and have refused to
18 provide any information regarding a timeline for moving forward to comply with the
19 February Order, despite repeated attempts by Plaintiffs’ counsel to gain information.
20                 In September, Defendants indicated that CART would be “expanded to
21 rehabilitative sponsor led programs, religious services, mental health treatment groups, and
22 substance use abuse treatment,” see ECF No. 3504 at 11-12, and in early October they
23 represented that “Phase Two will expand CART to all programming areas at SATF and at
24 the ten other institutions.2” ECF No. 3515 at p. 14 (emphasis added). However, on
25 October 19, 2023, Defendants indicated to Plaintiffs’ counsel—in a seeming reversal of
26 position—that they intended to withhold CART from any program that was not credit-
27
     2
    Plaintiffs understand these to be CCWF, CHCF, CIM, CMF, COR, RJD, SATF, SQ,
28 SVSP, WSP and NKSP.
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 1 earning; CART would be withheld from religious services, numerous rehabilitative groups
 2 and courses, and potentially from individuals serving life without parole sentences. On
 3 November 2, 2023, Defendants again reversed and represented that they no longer
 4 intended to limit CART to credit-earning programs, but did not indicate what programs
 5 would be included, or when. To date, Plaintiffs have not been provided with Defendants’
 6 positions on (1) whether CART will be expanded to education, (2) whether CART will be
 7 expanded to programs, and if so, which ones, and (3) when “Phase II” of CART can be
 8 expected to begin.
 9                 The Parties have scheduled a meeting on November 17, 2023 to address these and
10 other outstanding questions about CART. If at that time Defendants still have no plan to
11 provide CART to programming and education in compliance with the Court’s February 24,
12 2023 Order, judicial intervention will be necessary.
13                 2.    Defendants’ Statement
14                 Defendants remain committed to providing class members equal access to
15 programs, services, and activities in accordance with the ADA and the ARP and will
16 continue to meet with Plaintiffs as part of the parties’ ongoing workgroups, to ensure the
17 successful deployment of these services. Plaintiffs’ outdated and backward-looking
18 description fails to describe current developments and implementation of CART services
19 or other reasonable alternative accommodations for the deaf and hard of hearing
20 population. It also fails to capture the tremendous internal effort and attention being put
21 forward to accommodate this population. As stated in the February 24, 2023 Order,
22 Defendants are required to offer CART or a reasonable alternative for due process events,
23 programming, and education. Plaintiffs’ false and misleading depiction infers that CDCR
24 has simply chosen not to expeditiously implement CART—this is not true. CART requires
25 WiFi and an unrestricted telephone line to properly function which may not be possible in
26 every area of a correctional facility—designed to restrict a person’s access to the outside
27 world—where a qualifying program, service, or activity may occur. Further, CART
28 requires a staff member to initiate CART by accessing a link via a laptop, thereby creating
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 1 safety, security, and staffing issues because prisoners cannot be left unattended with
 2 unfettered access to a laptop with an internet connection or an unrestricted phone line.
 3 Because of the challenges presented by the correctional setting, the legitimate security
 4 concerns related to CART, and the technical requirements of CART, Defendants are
 5 actively seeking the most suitable reasonable alternative accommodation for the numerous
 6 environments encountered by class members in a correctional setting. Nonetheless,
 7 CDCR’s EIS continues to work on WiFi connectivity issues throughout the identified
 8 prison. While significant resources are being expended to make CART available in the
 9 foregoing events, CDCR is simultaneously identifying alternative accommodations to
10 ensure access. CDCR has strived to develop both short-term and long-term remedies to
11 accommodate class members and anticipate sharing this information with Plaintiffs in the
12 near future to further demonstrate compliance with the ADA and the remedial plans and
13 that litigation related to CART is not only unnecessary, but would result in a waste of
14 limited resources that could be put to better use elsewhere. Nonetheless, Defendants will
15 continue to collaborate with the stakeholders to develop workable responses to the issues
16 raised above by Plaintiffs and, as to SATF, raised by the Court Expert in his most recent
17 report. These issues not only include CART, but also reliable communication of
18 announcements, tablet accessibility, captioned phones, and devices such as hearing aids
19 and pocket talkers. As to phone accessibility, on October 27, 2023, a headquarters
20 directive was sent via email to all ADACs expanding access to VRS/TTY/TDD. All
21 institutions were directed to provide deaf class members with additional out-of-cell time to
22 use accessible phones. Institutions were instructed to incorporate this directive into their
23 existing local operating procedure by November 3, 2023. As to effective communication
24 of announcements, on November 2, 2023, Defendants shared with Plaintiffs and the Court
25 Expert the new tablet notification policy that will be further discussed by the parties. The
26 new tablet notification process does not replace current requirements, and DPH and DNH
27 members will continue to receive personal notification of announcements, in addition to
28 other methods required by the remedial plan that include the public address system, the
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 1 flickering of housing-unit lights, written messages, and other methods, depending on
 2 individual needs for effective communication of announcements. As noted above, the
 3 parties have negotiated a resolution to address Plaintiffs’ concerns related to class
 4 members’ access to effective hearing aids.
 5                 Defendants’ policy will allow for hearing aids to be provided on the basis of
 6 provider discretion. Defendants, in collaboration with provider(s) will ensure all hearing
 7 aids are fitted according to the American Speech Hearing Association’s Preferred Practice
 8 Patterns for Hearing Aid Selection and Fitting. The provider(s) will conduct a follow-up
 9 examination with recipients of new hearing aids, according to the American Speech
10 Hearing Association Preferred Practice Patterns for Outcome Evaluation and Follow-up
11 Measures, approximately thirty (30) to ninety (90) days after fitting the hearing aid and
12 every twelve (12) months thereafter.
13                 This result demonstrates Defendants continued efforts to accommodate class
14 members with Plaintiffs’ collaborative input without the need for judicial intervention.
15 CDCR will continue its coordinated efforts to reasonably accommodate class members in
16 accordance with its obligations under the ADA and ARP, along with valuable input from
17 the Court Expert and Plaintiffs, ensuring no court intervention is necessary.
18 E.              Accommodations for Blind and Low-Vision Class Members
19                 1.    Plaintiffs’ Statement
20                 The parties formed a workgroup to address issues facing blind and low-vision class
21 members. The workgroup covers, among other things, reading and writing
22 accommodations, orientation and mobility training for blind and low-vision class
23 members, accommodations assessments and skills training, braille literacy, availability of
24 white canes, accessibility of the ViaPath tablet program (including training), and
25 photophobia accommodations.
26                 Plaintiffs sent a December 10, 2021, demand letter regarding the need for a
27 statewide system for identifying, documenting, and providing reading and writing
28 accommodations for blind and low-vision class members. As Plaintiffs explained in the
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 1 demand letter, Defendants must (1) identify, track, and produce the accessible formats of
 2 written materials (such as large print, braille, and audio) that blind and low-vision class
 3 members need to read and write (a statewide request first made by letter on March 15,
 4 2021) and (2) make auxiliary aids for reading and writing—such as electronic video
 5 magnifiers—available to these class members outside restricted locations and hours.
 6                 On September 22, 2022, Plaintiffs submitted a proposed stipulation to Defendants
 7 to resolve disputes between the parties regarding the need for reading and writing
 8 accommodations for blind and low-vision class members. Negotiations regarding
 9 Plaintiffs’ proposed stipulation are ongoing. Plaintiffs are hopeful that Defendants will
10 promptly develop a plan for remedying these longstanding ADA violations, and that
11 litigation will not be necessary.
12                 The parties are meeting regarding word processing accommodations for blind and
13 low-vision class members. Without such accommodations, these class members do not
14 have access to programs, services, and activities that require them to produce written
15 documents, because they are unable to write by hand, or are substantially limited in
16 doing so.
17                 2.    Defendants’ Statement
18                 Defendants continue to work to accommodate the needs of blind and low-vision
19 class members in all areas including their reading and writing needs. Defendants have
20 collaborated with Plaintiffs and the Court Expert, and have made significant progress to
21 resolve disputes between the parties to ensure class-member access and mitigate
22 associated litigation risks by negotiating a proposed stipulation between the parties to
23 resolve certain disputes. As reported in the March 15, 2023 Joint Case Status Statement,
24 Defendants are reviewing different processes by which they can identify, track, and
25 provide reading and writing accommodations to blind and low-vision class members.
26 See ECF No. 3473 at 18-19. Defendants have developed a plan to identify and track
27 DPV class members’ visual accommodations, including braille, large print, and audio.
28 Defendants have also prepared guidelines for producing due process-related written
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 1 materials in large print and in braille. The plan and guidelines developed by Defendants
 2 are currently pending Plaintiffs’ review. CDCR continues to utilize technology to
 3 accommodate class members as detailed in the March 15, 2023 Joint Case Status
 4 Statement. Id. For example, CDCR is also working with a vision consultant to identify
 5 and deploy the appropriate electronic assistive devices to accommodate blind and low
 6 vision class members’ reading and writing needs. See ECF Nos. 3515-1 at 4, 3515-2 at 2-
 7 5, 3515-3 at 2. In fact, on November 6 and 13, 2023, CDCR and CCHCS met with
 8 Plaintiffs, the Court Expert and the vision consultant to discuss individualize assessments
 9 for DPV class members to determine the appropriate accommodation. Further, on
10 November 2, 2023, CCHCS issued a memo notifying designated DPV institutions to
11 update their existing Local Operating Procedures and incorporate a Periodic Automatic
12 Replenishment (PAR) value for temporarily issued (i.e., loaner) white tapping canes.
13 Finally, statewide deployment of ViaPath tablets3 at all CDCR institutions is complete
14 and on-line instructions are available to families of incarcerated people.4
15 F.              Effect of the COVID-19 Pandemic on the Armstrong Class
16                 1.    Plaintiffs’ Statement
17                 The COVID-19 pandemic continues to impact the transfer of Armstrong class
18 members to ADA accessible placements. For years, Defendants have been unable to find a
19 way to address the backlog of class members housed inaccessibly in prisons not designed
20 to safely accommodate their disabilities, even after COVID-19-related movement
21 restrictions were relaxed in April 2022, and again in March 2023. On July 25, 2023,
22 CCHCS issued a memorandum instructing institutions that they are no longer required to
23 keep vacant the space that was identified for quarantine and isolation housing, and that this
24 space will revert back to general population housing. Plaintiffs are hopeful that this
25 change will open up additional accessible beds that can house Armstrong class members,
26
27   3
         See https://www.cdcr.ca.gov/family-resources/tablets/
     4
28       See https://web.connectnetwork.com/get-started-with-cdcr-inmate-trust-deposits/
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 1 and that the number of inaccessibly housed class members will soon return to pre-
 2 pandemic levels. Unfortunately, this has not happened so far.
 3                 As of October 20, 2023, there were 88 class members housed inaccessibly in
 4 placements not designated to accommodate their disabilities in violation of the Armstrong
 5 Remedial Plan (this does not include an additional 163 class members with impacting
 6 placement codes awaiting transfer to designated mainline prisons from reception centers,
 7 and 120 incarcerated people improperly housed on upper tiers and/or top bunks.) All of
 8 these numbers represent increases in mis-housed class members since the last Joint Case
 9 Status Statement, and until three weeks ago, the number of mis-housed class members has
10 been consistently higher than it was in the immediate aftermath of the policy change. As
11 of November 9, 2023, the most recent data available to Plaintiffs, there are 77 class
12 members housed out-of-placement and awaiting expedited transfer. While we hope that
13 this most recent reduction of inaccessibly housed class members will be more lasting than
14 similar temporary decreases over the past several years, the data so far shows that CDCR
15 has been unable to sustainably bring down the number of mis-housed class members, even
16 after opening up additional accessible beds that had been set aside for quarantine and
17 isolation housing.
18                 Plaintiffs’ counsel are also concerned that the data on expedited transfers may not
19 tell the whole story. Some class members report that, as a result of pandemic related
20 transfer delays, they are housed in accessible placements, but on higher security level
21 prison yards. These class members are not counted in data currently produced by
22 Defendants. Defendants have reported that they have identified hundreds of people in this
23 position but, before they disclose information to Plaintiffs’ counsel, are trying to determine
24 why each person is housed out of level. Plaintiffs’ counsel will continue to attempt to
25 reach resolution of this problem.
26                 2.     Defendants’ Statement
27                 As noted above, CCHCS July 25, 2023 memorandum instructed institutions to no
28 longer maintain vacant quarantine and isolation housing and that all designated space,
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 1 approximately 6,700 beds, shall revert back to general population housing. This should
 2 serve Defendants’ efforts to reduce the number of class members on the expedited transfer
 3 list, notwithstanding remaining obstacles detailed in previously filed Joint Case Status
 4 Statements. ECF Nos. 3369, 3391, 3412, 3452, 3484. As of November 3, 2023, there are
 5 73 non-reception center class members on the expedited transfer list, but at least 33 of
 6 these class members are ineligible for transfer at this time due to several factors, including
 7 placement in medical beds controlled by Healthcare Placement Oversight Program
 8 (HCPOP). Although the pandemic has ended, CDCR will continue its COVID-19
 9 monitoring and revised reporting to Plaintiffs’ Counsel and the Court Expert for class
10 members housed in non-designated spaces until this issue is resolved.
11 G.              Problems Regarding Access to Assignments for Class Members
12                 The program-access workgroup continues to meet to discuss credit earning, the
13 assignment process under Proposition 57, and disparities in the program-access assignment
14 data in response to Plaintiffs’ allegations of disability-related discrimination. ECF
15 No. 2680 at 13-14. The parties met with the Court Expert on August 11, 2023 and on
16 October 26, 2023. Defendants are investigating a number of issues to address program
17 access disparities in assignment rates and are developing an Inmate Assignment Office
18 Reference Guide to help assignment staff manage the waiting list and assignment process
19 effectively. The parties have also involved staff from the Prison Industries Authority in
20 the workgroup’s discussions. Defendants will continue to produce monthly data for the
21 parties to develop a standard for analyzing program access disparities. Defendants
22 disagree with Plaintiffs’ allegation that the data shows troubling disparities in assignments
23 for people with disabilities, but will continue to participate in future discussions with
24 Plaintiffs about this issue. See ECF No. 3369, Ex. H.
25 H.              Statewide Durable Medical Equipment Reconciliation and Accuracy of
                   Disability Tracking Information
26
27                 1.    Plaintiffs’ Statement
28                 Defendants have agreed to ensure that anyone who had not been seen by a health
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 1 care provider in the last year would be seen for the purpose of reconciling their DME. The
 2 only outstanding issue then is to ensure a process whereby health care providers actually
 3 undertake a reconciliation during at least one encounter annually. Defendants maintain
 4 that this is already a requirement during visits with Primary Care Providers. Yet,
 5 Defendants found thousands of class members without needed DME, despite the fact that
 6 the majority of class members are seen regularly by health care staff and this is an existing
 7 requirement during encounters. A process for ensuring that staff actually reconcile DME
 8 during encounters is necessary to prevent ongoing and widespread problems.
 9                 Unfortunately, Defendants’ disability tracking system fails to identify and track
10 class members with upper-extremity disabilities. Plaintiffs’ counsel continues to share
11 with Defendants reports of failures to accommodate class members as well as statements
12 from CDCR staff who require assistance in properly identifying who must be
13 accommodated. Plaintiffs are committed to resolving this ongoing problem.
14                 2.     Defendants’ Statement
15                 Collaboration between the parties continues to develop a sustainable DME
16 accountability process and progress has been made as noted above and as detailed in the
17 March 15, 2023 and May 15, 2023 case management statements. See ECF Nos. 3473 at
18 23-26; 3484 at 22-25. CCHCS and CDCR agree that individuals with upper-extremity
19 disabilities that limit a major life activity, require accommodation under the ADA, but
20 disagree that CCHCS and CDCR must create a new Disability Placement Program (DPP)
21 code for multiple reasons communicated to Plaintiffs as noted in the March 15, 2023 Joint
22 Case Status Statement. See ECF No. 3473 at 26. Notwithstanding these disagreements,
23 CDCR and CCHCS will continue to meet with Plaintiffs and the Court Expert to further
24 discuss these issues.
25 I.              Joint Monitoring Tool
26                 The parties remain committed to developing a strong and effective joint monitoring
27 tool. The parties continue to convene small work groups, confer with the Court Expert
28 about informal briefing, and continue to meet to discuss and resolve the few remaining
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 1 disputes between the parties such as a format for scoring and reporting compliance.
 2 J.              ADA Structural Barriers, Emergency Evacuation Procedures, and Master
                   Planning Process
 3
 4                 The parties continue to engage in the Master Planning Process aimed at ensuring
 5 that CDCR prisons are accessible to people with disabilities in compliance with the
 6 ADA. The parties most recently met on October 13, 2023, and October 27, 2023 and are
 7 close to finalizing a written document outlining a new Master Planning process for
 8 sharing information and plans related to about Master Planning projects, and touring
 9 completed projects together. The parties have agreed as part of the process to tour
10 institutions jointly with our respective experts before and after ADA accessibility
11 construction projects to identify and resolve any ADA-non-compliance issues. The
12 parties, along with Plaintiffs’ ADA access expert, toured LAC on April 29, 2022 and
13 November 9, 2022, CMF on December 16, 2022, VSP on May 3, 2023, and CIM on
14 June 22, 2023. On April 3, 2023, Plaintiffs produced a report identifying problems their
15 expert identified at LAC. Defendants have responded to some of the expert’s opinions in
16 the report and are planning to respond more fully in the near future. Plaintiffs plan to
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 1 continue working with Defendants to address structural issues or unfinished work that
 2 should be done to bring all prisons in compliance with the ADA.
 3
 4                                                Respectfully submitted,
 5 DATED: November 15, 2023                       ROSEN BIEN GALVAN & GRUNFELD LLP
 6                                                By: /s/Penny Godbold
 7                                                    Penny Godbold
 8                                                Attorneys for Plaintiffs

 9
10 DATED: November 15, 2023                       ROB BONTA
                                                  Attorney General of the State of California
11
12                                                By: Trace O. Maiorino
                                                      Trace O. Maiorino
13                                                    Deputy Attorney General
14                                                Attorneys for Defendants
15
16                                         FILER’S ATTESTATION
17                 As required by Local Rule 5-1, I, Penny Godbold, attest that I obtained concurrence
18 in the filing of this document from Deputy Attorney General Trace O. Maiorino, and that I
19 have maintained records to support this concurrence.
20
21 DATED: November 15, 2023                          /s/Penny Godbold
                                                     Penny Godbold
22
23
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28
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                    for a DPO class member for an outside medical appointment, (2) falsely
                    asserting that the class member refused to sign an appointment refusal form
                    when the officer never asked the class member to do so, and (3) then
                    issuing the class member a false RVR for delaying a peace officer on which
                    the officer lied that the class member refused to sign the form.

              •     LAC –              – Failing to even consider whether a Lieutenant—who
                    admitted to signing a form certifying that she completed a review of a class
                    member’s placement in Administrative Segregation (“ASU”) even though
                    she had not performed the review—had violated the Disciplinary Matrix
                    category for falsifying material facts in reports or official records (E10),
                    which carries a baseline punishment of termination, and instead imposing
                    only corrective action for failure to observe and perform within training or
                    policy (D26).

              •     KVSP –              – Failing to sustain an allegation that an officer—who
                    challenged a class member lying in a bed in the CTC to fight—had
                    intimidated or threatened the class member (D15), which carries a baseline
                    Level 5 penalty, and instead imposing only corrective action for discourtesy
                    (D1).

        In Defendants’ existing accountability system, Hiring Authorities are responsible
for reviewing investigation reports and supporting evidence to reach the ultimate
conclusion regarding whether staff misconduct has occurred. The cases discussed in this
report and in prior reports make clear that Hiring Authorities are failing at this essential
responsibility. This conclusion is bolstered by the fact that the Hiring Authorities
currently have a backlog of hundreds of completed AIU investigations sitting on their
desks, awaiting resolution. Their inability to adequately perform this time-consuming
function in a timely manner is unsurprising given their substantial other duties running
the prisons. It is unrealistic to expect Wardens to have the capacity to review all of the
relevant evidence, including video footage, in these cases. The situation is made worse
by the fact that Defendants have no required process to review whether Hiring
Authorities are adequately performing their accountability responsibilities and to take
action if they are not.




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I.            DEFENDANTS CONDUCTED BIASED AND INCOMPLETE
              INVESTIGATIONS AND IMPOSED INAPPROPRIATE AND
              INCONSISTENT DISCIPLINE

       The Remedial Plans and Court’s orders require that Defendants’ investigators
conduct “comprehensive and unbiased investigations and ensure all relevant evidence is
gathered and reviewed” and that Hiring Authorities impose appropriate and consistent
discipline. RJD Remedial Plan, § II.B; Five Prisons Remedial Plan, § II.B; see also Dkt.
3060, ¶ 5.c; Dkt. 3218, ¶ 5.c.

        To evaluate Defendants’ compliance, Plaintiffs reviewed all of the cases produced
by Defendants. Plaintiffs then selected a subset of those cases for closer review,
including: 11 cases from LAC, 9 cases from CIW, 15 cases from SATF; 13 cases from
COR; 9 cases from KVSP; and 10 cases from RJD. 3 The complete findings from
Plaintiffs’ review are contained in Table A. Note that the findings for each prison appear
in separate tabs of the Excel file.

       Below, Plaintiffs describe a number of cases that illustrate serious, ongoing
problems regarding Defendants’ accountability system. Though Plaintiffs have
categorized each case by whether it primarily reflects problems with investigations or
with Hiring Authority decision-making, many cases evidence both types of problems.

              A.    Hiring Authorities Remain a Significant Barrier to Accountability

                    1.    Hiring Authorities Failed to Hold Staff Accountable When the
                          Preponderance of Evidence Established Misconduct Occurred

                          (a)   Cases Involving Officer        (LAC)

       Over the course of several months, Officer         at LAC engaged in multiple,
serious instances of intentional misconduct toward class members. First, in December
2021, Officer         abandoned her post in the control booth to conduct an improper and

3
  Plaintiffs selected the cases using a variety of criteria, including, but not limited to,
whether: CDCR referred the case to the OIA for investigation or direct adverse action;
the AIU investigated the case; the AIMS conducted an inquiry; the case involved an
allegation related to use of force or disability; the Hiring Authority sustained an allega-
tion; and the case included video evidence. These criteria are intended to identify cases
with the most serious and credible allegations of misconduct, which we then review to
determine whether Defendants are holding staff accountable when the evidence shows
misconduct occurred. While Defendants have mischaracterized this approach as “cherry-
picking” in the past, there can be no reasonable dispute that it is necessary to focus on
cases with serious and credible allegations of misconduct to evaluate whether the
accountability system is working.


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              The lack of accountability in this case is, for multiple reasons, deeply concerning.

              First, the misconduct is captured on video, yet resulted in no accountability.

       Second, Mr.            had done everything possible to ensure he received the
accommodation he needed, including by obtaining confirmation of his rights in a RAP
response, yet nothing was done to address Officer              ’s failure to follow policy. The
conduct of the officer in this case represents not just a failure to accommodate
Mr.          and Mr.               , but also a failure to comply with attempts by a superior
(the Associate Warden who granted the 1824 and instructed that Mr.                 could take
the shortest path) to ensure accommodations for class members on Facility A.

        Third, Plaintiffs’ have repeatedly reported on Officer          ’s and another
officer’s (Officer           ) failures to accommodate people with mobility disabilities—
including cases where BWC footage similarly confirms the failure to accommodate and
the violation was also not sustained. See Sept. 2022 RJD Monitoring Report at 10-12;
see also Plaintiffs’ May 2023 Report at 21-23. In this case, as in prior cases, the class
member also received inappropriate and discriminatory discipline (in this case a
counseling-only RVR) that should be voided and expunged from his file immediately.
And in all of the cases, the Hiring Authority failed to hold the officers accountable for
their failures to follow ADA policies.

         This case should have been simple. And yet the failed history of attempts by class
members, Plaintiffs’ counsel, and ADA staff at the prison to bring officers on Facility A
into compliance regarding “short walk” accommodations suggests that CDCR has made
little progress towards identifying and addressing even the most basic of ADA violations.
Despite the new investigation system, multiple complaints about the same officers
engaging in the same misconduct, and multiple examples of video evidence confirming
the violation, CDCR still has not taken any steps to hold staff accountable or to ensure
that class members receive the accommodations to which they are entitled under the
ADA.

                            (c)    CIW –              – AIU, Not Sustained

       In this case, video shows that, without adequate justification, Officer
slammed                                                 to the ground while she was
handcuffed behind her back. Notwithstanding clear video evidence that the force used by
Officer          was excessive and unnecessary, the Hiring Authority did not find any
misconduct. Moreover, the investigation report was biased and incomplete, as the
investigator improperly concluded that the use of force complied with policy without
even interviewing Officer          .

       On April 26, 2022, Ms.       got into an altercation inside of her housing unit
with another incarcerated person. Ms.        was escorted outside of the unit and placed


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backward on the waist-chain. Mr.           leans forward, complaining that he cannot
breathe because of the pressure from the waist-chain. Mr.            then slowly slides
forward out of the front of his chair, all while still being pulled backward by the
supervisors. See BWC at 9:24:00 (linked above). The supervisors force him to the
ground. One of the supervisors sounds an alarm over the radio and additional officers
respond. From the ground, Mr.           states that his back, neck, and legs are injured.
After a little over a minute and despite Mr.        ’s requests that the supervisors not move
him, they lift him from the ground and place him back in his wheelchair.

        The video establishes that the supervisors violated CDCR’s use-of-force policy.
First, though Mr.      was not complying with an order to go to his assigned housing, he
did not pose any imminent threat justifying an immediate use of force. Mr.         is an
elderly class member in a wheelchair, and he was in waist-chains. He was simply stating
that he was not going to accept the housing. Had the supervisors decided that force was
necessary to gain compliance with their order, they were required to initiate a controlled
use of force.

       Second, the supervisors had a number of non-force options available to them that
might have (and likely would have) avoided the need for force. They could have taken
Mr.       to the ASU, as he requested, and then sorted out the issue with his housing.
They could have threatened to issue him an RVR if he continued to refuse housing, which
might have gained Mr.        ’s compliance. In fact, CDCR policy specifies that the proper
consequence for an individual refusing housing is an RVR. See 15 C.C.R. §§ 3005,
3269.1, 3315. They could have, as required by policy, tried to deescalate the situation by
discussing Mr.       ’s concerns more fully, including by clarifying that he was not
actually being placed in SNY housing. Instead, the supervisors ratcheted up the tension
almost immediately. Within seconds of the start of the dispute, Lieutenant
threatens to use force. And rather than try to deescalate, both supervisors simply repeat
over-and-over again that Mr.       will accept his housing. Through their actions, the
supervisors made force, and therefore the resultant risk of injury, far more likely.

       Despite this clear evidence of misconduct, the Hiring Authority did not sustain any
allegations against the supervisors.

       Though the buck stops with the Hiring Authority and Hiring Authorities have an
obligation to independently review the evidence, the failure in this case to find that the
supervisors violated policy was likely caused, at least in part, by the biased and
incomplete AIMS inquiry report, which wrongly signaled that the use of force complied
with policy. Initially, the investigator appears to have submitted a report that did not
even discuss the video footage of the incident. The investigator then submitted an
amendment to the report “to reflect ... BWC ... documentation in the note section of this
inquiry.” See Inquiry at 1. The amendment, however, ignores that the video shows that
the immediate use-of-force was improper. The investigator’s note states “[a] review of
BWC ... footage, [sic] showed no evidentiary value. At no time during my review of the

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staff tell Officer          that Mr.        would not need to transfer from his wheelchair
to receive dental care, but at 10:38:48, one of the female nurses tells Officer           ,
“the thing is, he wants us to pull his whole body up, no!” See              BWC #3. Officer
           responds, “So it’s a refusal then, we’re going to go with that,” and the nurse
agrees. Id.

       As with the first case, the local investigator’s inquiry report summarizes and
quotes from the BWC footage that confirms Mr.             ’s allegations. See Allegation
Inquiry Report at 3-5. Yet the Hiring Authority failed to identify the ADA violations
                      25

and again “exonerated” the officers. See June 12, 2023 Closure Memorandum. And
once again, the investigator and the Hiring Authority did not refer the misconduct by the
nurses to the CCHCS Hiring Authority, ensuring that neither Officer               nor the
nurses involved were held accountable.

                          (g)   RJD –          – AIU, Not Sustained

        In this case, the investigation confirmed that staff denied class member
                                  access to an ADA accessible vehicle to transport her to a
medical appointment, falsely documented that she “refused” to attend the appointment,
and then issued her a false RVR for delaying a peace officer. Notwithstanding this
evidence, the Hiring Authority failed to sustain the allegations of staff misconduct. Upon
reviewing Officer           ’s BWC footage, the investigator confirmed that Ms.
could not attend her appointment because a wheelchair-accessible vehicle was not
provided, stating, “          requested a wheelchair vehicle with a lift.         did not
refuse the transport.” See Investigation Report at 3. The investigator also confirmed
Officer          lied on the RVR issued to Ms.           . Officer         wrote in the RVR
that, “Wilson also refused to sign the necessary CDCR 7225 REFUSAL OF
EXAMINATION AND/OR TREATMENT, therefore, causing an overall delay of
approximately thirty (30) to forty-five (45) minutes in our scheduled assignment.” See
Investigation Report at 3. The 7225 Form completed by Officer               also states, “I/P
is refusing to attend, states is permanent disability. Refused to sign.” See Investigation
Report at 4. However, the investigator found that “[a]t no time during the footage did I




25
  The investigator even highlights one of the key questions for the Hiring Authority, with
an inquiry note stating that “Upon review of Operational Procedure 1076, Refusal of
Medical Treatment (Exhibit 8), it should be noted there is nothing specific to what
constitutes as a refusal of medical treatment.” See Allegation Inquiry Report at 5
(emphasis in original).


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                    3.    Hiring Authorities Continue to Delay in Reviewing
                          Investigations

       Despite improvements to the staff complaint process to ensure the swift and timely
completion of investigations, within 120 or 180 days, Hiring Authorities are undermining
those reforms by delaying in reviewing and taking action on completed investigations.
According to data produced by Defendants on October 17, 2023, 43% percent (1,561 of
3,662) of the investigations that the AIU (a) received between August 2022 and
September 2023 and (b) has completed are currently waiting for Hiring Authority action.
In these cases, Hiring Authority review is the only thing standing in the way of imposing
important corrective or adverse action that can reduce future harm to class members, or
exonerating officers who have not violated policy.

        The problem is particularly acute at LAC (58% of completed investigations
pending with Hiring Authority), RJD (54%), SATF (40%), and CIW (38%). Since the
last report, Defendants have made some progress at COR and KVSP. Some of the cases
pending with the Hiring Authority are very old; more than 120 of the still pending cases
were received by the AIU in August-October of 2022. 30

                                  RESOLVED                  %
                                    BY HA  PENDING TOTAL PENDING
                          CIW        109      67    175    38%
                          COR        613     192    804    24%
                          KVSP       211      63    273    23%
                           LAC       342     482    824    58%
                           RJD       389     460    849    54%
                          SATF       441     297    737    40%


       The purpose of negotiating shortened timelines to complete investigations was to
ensure that CDCR could swiftly act to hold staff accountable for serious staff misconduct.
The parties focused on eliminating delays in investigations because that is where delays
were occurring. Now, those delays have simply been transferred to a different part of the
process—Hiring Authority decision making. In Plaintiffs’ June 13, 2023 letter,
Plaintiffs requested that Defendants impose a deadline for Hiring Authorities to
timely act on completed investigations. In Defendants’ October 13, 2023 letter,
Defendants stated that “they are not currently considering setting a policy

30
  At the October 18, 2023 meeting, Defendants indicated that the older cases may be
showing as pending if they have been appealed to the State Personnel Board. Defendants
indicated they were looking into fixing the system so that it can track when the Hiring
Authority closes the case at the prison by issuing the 402/403 or Notice of Adverse
Action.


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complaint against Officer        . 34 Mr.              reported that on August 15, 2022, a
floor officer allowed him to sit outside during medication time when he was dizzy and
felt sick. Days later, Officer        issued him an RVR for being out-of-bounds. The AIU
investigator only reviewed AVSS and BWC, and stated on a “Video Quick Close
Report,” that “based on the review of AVSS and BWC, the allegation made by the
claimant did not occur.” See AIU Report at 3. Given the allegation that the RVR was
retaliatory, it was impossible for the investigator to close the case after viewing only
video. It was necessary to determine whether it was true that Mr.                   filed a recent
staff complaint against Officer         and, if so, to at the very least interview that officer
about the RVR, his intent, and whether he knew about the 602. The investigator instead
relied on a statement in the RVR that the officer had “ordered and informed [                   ]
numerous time(sic) not to sit on his walker in an Out Of Bounds marked area.” See RVR
at 26. The investigator failed to determine whether, as Mr.                  asserted in this
case, the floor officer granted him permission to sit there and why the conduct resulted in
an RVR days later. Despite the improper use of the video quick-close report, and an
incomplete investigation, an AIU Caption signed off on the investigation report. See AIU
Report at 4. Furthermore, the Hiring Authority closed the case without a request for
further investigation, and did not sustain the allegation.

        Plaintiffs have reported on additional examples where investigators improperly
relied on the use of the “Video Quick Close Report.” See KVSP –               ; SATF –
           ; August 2023 Report at 35-36.

                    4.    AIU Investigations Continue to Be Delayed

        Hiring Authorities are not the only cause of investigation delays. See I.B.4. AIU
staff are also failing to complete investigations by the deadlines set in the Remedial
Plans: 120 days for investigations conducted by custody supervisors (Sergeants and
Lieutenants) 35 and 180 days for investigations conducted by Special Agents. The chart
below shows that, for investigations the AIU received in August 2022 to May 2023, 36



 Mr.
34
                 also reported that he filed the initial staff complaint due to an RVR that
was issued by the officer in retaliation for a lawsuit he filed against the officer.
35
  The data shows that for cases received by the AIU between August 2022 and
September 2023, 93% of the AIU investigations were assigned to custody supervisors.
This represents a significant increase from the period covering cases received by the AIU
between June 2022 to June 2023, during which 88% of the AIU investigations were
assigned to custody supervisors. In August and September of 2023, only 9 of 448 (2%)
investigations received by the AIU were assigned to Special Agents.
36
  Plaintiffs only present the data for August 2022 to May 2023 because the vast majority
of investigations from more recent months (1) are not yet complete and (2) could not

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the AIU closed 36% of the investigations late. For the most recent three months of
available data, the AIU closed 30% of investigations late.

                                        CLOSED-          OPEN-                   % ON
                    MONTH     CLOSED-                                   %
                                         PAST     OPEN   PAST    TOTAL         TIME/NOT
                   RECEIVED   ON TIME                                  LATE
                                          DUE             DUE                   YET LATE
          August                131       121      0       0      252    48%      52%
        September               97        104      1       1      203    52%      48%
  2022   October                143       180      1       0      324    56%      44%
        November                155        75      0       0      230    33%      67%
        December                204       104      0       0      308    34%      66%
          January               300       126      0       0      426    30%      70%
         February               277       131      0       1      409    32%      68%
  2023     March                277       129      0       7      413    33%      67%
            April               214        90      1       14     319    33%      67%
            May                 313        53      1       46     413    24%      76%
       TOTAL                   2,111     1,113     4       69    3,297   36%      64%

II.           DEFENDANTS ARE FAILING TO PROPERLY IDENTIFY AND ROUTE
              STAFF MISCONDUCT COMPLAINTS

              A.       The CST Is Inappropriately Routing Staff Misconduct Complaints as
                       “Routine” Grievances

        The CST continues to route as “routine” far too many grievances that contain clear
allegations of staff misconduct. The CST should only classify a grievance as “routine” if
it does not include an allegation of staff misconduct. 37 A grievance contains a staff
misconduct allegation if it alleges an employee engaged in “behavior that results in a
violation of law, regulation, policy, or procedure, or actions contrary to an ethical or
professional standard.” 15 C.C.R. § 3486(c)(22).

     Plaintiffs reviewed the random sample of grievances for Q3 2023 from class
members at the Six Prisons that the CST determined do not allege misconduct, which

possibly be late because they have not yet run up against the deadlines in the Remedial
Plan.
37
   In an October 17, 2023 email, Defendants explained that they have instructed the CST
to route as routine “factually impossible” or “factually implausible” complaints, even
when the complaint contains allegations of staff misconduct. Plaintiffs are not opposed
to this concept in principle. However, Defendants have not yet provided Plaintiffs with
sufficient information regarding the timing of this change or the nature of the instructions
provided to CST staff. Plaintiffs requested at the October 18, 2023 meeting that
Defendants produce all CST training materials.


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Defendants produced on October 5, 2023. In 19 out of 96 38 cases (or 20%), Plaintiffs
disagree with the CST’s determination that the grievance contains no staff
misconduct allegation. 39 According to data produced by Defendants, the CST
determined that 14,076 grievances did not include an allegation of staff misconduct in Q3
2023. If the CST’s 20% error rate for this quarter applied across these decisions, that
would mean CDCR failed to route more than 2,800 complaints into the staff misconduct
investigation process during this three-month period. This would mean that the CST
missed far more staff misconduct complaints than they actually identified in Q3
2023, as the CST routed a combined total of 1,617 complaints to LDIs and the OIA
during that time period. 40

         Once again, in nearly every case where Plaintiffs disagreed with the CST, the staff
misconduct allegation was clear and unambiguous. A number of the 602s that the CST
routed as routine not only contained allegations of staff misconduct (and therefore should
have at least been investigated by an LDI), but also included allegations of staff
misconduct on the ADI, and therefore should have been investigated by the AIU. The
full list of 602s from the Q3 2023 sample that the CST improperly routed as routine are
described in APPENDIX A. Plaintiffs request that Defendants provide their position
on whether the CST improperly routed each of the 19 grievances described in
APPENDIX A, and if not, the basis for their disagreement with Plaintiffs’ position.

        The following examples are illustrative of 602s that the CST erroneously
classified as not including an allegation of staff misconduct:

•                     – The person alleges that a Lieutenant denied his request for single cell
              housing due to his disability-related safety concerns, and forced him to house with
              a cellmate, even though they each stated they were not compatible with each other.
              He also alleges that staff are retaliating against him for seeking assistance “against
              this abuse of authority” by blocking phone calls from his daughter. See Other
              Misconduct (2); Retaliation (1), (4).


38
  Defendants’ random sample produced for this quarter was missing three 602s and
included one duplicate copy of a 602, which we omit from the count.
39
   Plaintiffs are counting two grievances from the Q3 2023 sample as correctly screened
as “routine” by the CST that allege staff misconduct on their face, but where the
allegations are factually impossible and/or factually implausible.
40
  While this is a slight decrease in the CST’s error rate compared to the last two quarters
(27% and 30%, respectively), it is still far too high. Further, multiple factors likely
account for the decrease including the influx of 1824s into the system that naturally
contain “routine” complaints and likely decrease the rate of error regarding the
identification of staff complaints.


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•                     – The person alleges that an officer sexually assaulted him in his cell. See
              Staff Sexual Misconduct (2).

•                      – The person alleges that an officer is targeting and harassing him because
              of his race, including by denying him access to yard and threatening to write a
              false RVR against him. See Discrimination/Harassment (2), (3).

•                       – The person alleges that a Sergeant conducted a biased interview of him
              regarding an assault by staff in order to protect the officers involved, and tried to
              file a false report on the incident. See Code of Silence (4).

•                      – The person alleges that a Sergeant ordered him to the back of the chow
              line and then tried to handcuff him in retaliation for filing a 602 against him, and
              that the Sergeant is disrespectful and threatens incarcerated people. See
              Retaliation (2); Other Misconduct (4).

•                      – The person alleges that the prison’s sign language interpreter is often
              very late for appointments or does not show up at all, causing his appointments to
              be canceled, and that she retaliates against any Deaf person who goes against her.
              See Retaliation (1), (4).

•                     – The person alleges that staff disregarded his safety concerns by sending
              him back to the yard where incarcerated people were demanding that he pay his
              former cellmate’s debt, even though the staff knew his life was in danger because
              he had disclosed the names of the people who were threatening him. See Integrity
              (1); Other Misconduct (2).

       Our findings that Defendants are erroneously classifying many complaints as
routine is consistent with data produced by Defendants that show a marked increase in
the number of complaints that the CST is classifying as routine. As shown in the chart
below, in August and September 2023 (the two most recent months for which Defendants
have produced data), the CST processed more complaints than in any of the other
months. But in those two months, the CST also categorized the highest percentage of
complaints as routine and the lowest percentage of complaints as alleging staff miscon-
duct. Perhaps most troublingly, in September 2023, the CST processed the most com-
plaints of any month (5,665) but also classified, by a very large margin, the fewest
complaints as alleging staff misconduct of any month (325). (September 2022 had the
second fewest staff misconduct complaints, with 435.) September 2023 had only 37% of
the number of staff misconduct complaints in June 2023 (868 staff misconduct
complaints).




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                                 Initial CST Routing
                                       Decision
                    Month                                         % STAFF SM    %     %      %
     T                        HA/LDI   OIA     ROUTINE   TOTAL
                   received                                        (LDI+OIA)   LDI   AIU   ROUTINE
          August               309      284     3,077    3,670       16%       8%    8%     84%
        September              220      215     2,877    3,312       13%       7%    6%     87%
  2022   October               322      299     2,889    3,510       18%       9%    9%     82%
        November               386      255     2,682    3,323       19%       12%   8%     81%
        December               338      354     2,912    3,604       19%       9%    10%    81%
          January              429      434     3,141    4,004       22%       11%   11%    78%
         February              323      426     2,452    3,201       23%       10%   13%    77%
           March               327      392     3,034    3,753       19%       9%    10%    81%
            April              311      314     2,942    3,567       18%       9%    9%     82%
  2023      May                438      415     3,142    3,995       21%       11%   10%    79%
            June               370      498     3,805    4,673       19%       8%    11%    81%
            July               327      355     3,846    4,528       15%       7%    8%     85%
          August               313      297     4,890    5,500       11%       6%    5%     89%
        September              159      166     5,340    5,665       6%        3%    3%     94%
       TOTAL                  4,572    4,704    47,029   56,305      16%       8%    8%     84%

        At the October 18, 2023 meeting, Defendants suggested that the increase in
routine complaints and the decrease in staff misconduct complaints was possibly the
result of additional and ongoing training provided to the CST. Plaintiffs are skeptical that
training alone can explain the dramatic changes in the data. Plaintiffs will continue to
closely monitor this critical issue, which is essential to ensure that appropriate staff
investigate staff misconduct allegations.

       Plaintiffs’ findings that the CST is erroneously screening staff complaints as
“routine” is also consistent with a recent OIG report describing in detail CST screening
and routing problems in four cases reviewed in August 2023. See OIG CST Monitoring
Report. In two of the four cases, the OIG determined that the CST inappropriately
screened staff complaints as routine, and in all four cases, the OIG rated CST screening
as “poor.” Id.

        Plaintiffs remain seriously concerned about the ability of the CST to identify staff
complaints. In order to effectively monitor CST decision making, and to account for the
influx of 1824’s and complaints from other sources into the staff complaint screening
process, Plaintiffs request that, moving forward, CDCR produce a sample of 150
grievances screened routine by the CST and that at least 100 of those grievances be
602s. 41


41
  Plaintiffs also note that the random sample of “routine” grievances for Q3 2023 did not
include any 602-HCs, even though we understand that they were phased into the CST

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              B.    The CST Is Improperly Routing Serious Staff Misconduct Complaints
                    Back to Prisons Instead of the OIA

        Plaintiffs conducted a non-exhaustive review of cases from this review period
filed on 602s by class members at the Six Prisons after May 31, 2022 that the CST routed
to the institution for investigation by an LDI. This non-comprehensive review revealed
that, even where the CST correctly identifies an allegation of staff misconduct, the CST
frequently does not recognize that the staff misconduct allegation is on the ADI, and thus
improperly routes it for investigation by an LDI, rather than by the AIU. Plaintiffs
request that Defendants provide their position on whether the CST improperly
routed each of the grievances described in this section, and if not, the basis for their
disagreement with Plaintiffs’ position.

        Plaintiffs are particularly concerned that, in deciding whether a case falls on the
ADI, the CST is improperly pre-judging cases on the merits, rather than routing them
based on the allegations in the complaint, as required by the Remedial Plans. 42 The
CST’s routing decision must be based on what is alleged on the face of the complaint.
The CST may not pre-judge the merits of the complaint or screen out the complaint based
on its belief that the allegations of staff misconduct are untrue.

       For example, in COR-              , a class member alleged that two Sergeants were
verbally aggressive and hostile to him when he asked them about his gate pass, and
threatened to take away 190 days of good behavior time. The class member perceived
that he was being discriminated against because of his race “by these two white authority
figures,” and asked if they were racist. One responded, “I told him to write you up.” See
602. Although this allegation is on the ADI, see Discrimination/Harassment (3), the CST
improperly routed the 602 to an LDI. The investigation file for this case includes a
summary of the CST’s routing decision showing it improperly pre-judged the allegation
before an investigation commenced, rather than applying the ADI: “HA LDI **no
substantiation for discrimination, just discourteous treatment.” Originating Docs at 6.

      In another case, COR-           , a class member alleged that officers denied him
phone calls and threatened him with cell extraction in retaliation for filing 602s against

screening system on May 31, 2023. Please ensure that 602-HCs screened by the CST
are also included in the quarterly productions.
42
   See RJD Remedial Plan at 3-4; Five Prisons Remedial Plan at 4 (The CST is required
“to evaluate whether complaints received by CDCR include an allegation(s) of staff
misconduct … [and] will route all allegations in the complaint that are on the ADI … to
the OIA for investigation.” [emphasis added]); RJD Remedial Plan at 9; Five Prisons
Remedial Plan at 9 (“If CST determines that a complaint contains allegation(s) of staff
misconduct … not listed on the ADI, those allegations will be referred … for an
allegation inquiry [by an LDI].” (emphasis added)).


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the officers. See 602 at 4-5. Although this retaliation allegation is on the ADI, see
Retaliation (2), the CST improperly routed the 602 to an LDI. The investigation file for
this case also includes a summary of the CST’s routing decision, which once again shows
improper pre-judging of the merits of the complaint: “Claimant alleges on 3/2/23 that Lt.
       , Sgt.       , Lt.      , and C/O’s harassed and retaliated on the claimant;
however, no retaliation in the claim identified.” See Originating Docs at 3; see also
COR-20032809 (CST routed allegation to LDI that transferring incarcerated people get
their property immediately unless they are Black; summary of CST’s routing decision
states, “Claimant did not describe personal observations to support a claim of racial
discrimination…. Refer to HA/LDI,” see Originating Docs at 3; 15).

      Below, we provide additional examples of cases routed for local inquiries that
should have been routed to the AIU for investigation:

•             KVSP-               (see 602 at 8-9) – The person alleges that an officer directs other
              incarcerated people to “incite altercations” during pill call, in order to “facilitate
              brutality or a fight intentionally to stop, delay, and prevent current investigations”
              into staff misconduct. These allegations fall under multiple ADI categories,
              including endangerment, code of silence, and creating an opportunity or motive
              for incarcerated people to harm others. See Other Misconduct (2); Code of Silence
              (1), (3), (4); Integrity (1).

•             CIW-             (see Inquiry Report at 3) – The person alleges that a correctional
              counselor tried to return her to the general population yard despite her reported
              safety and enemy concerns, and threatened her with an RVR if she refused the
              housing move. The allegations of endangerment and creating an opportunity for
              incarcerated people to harm her are both on the ADI. See Other Misconduct (2);
              Integrity (1).

•             RJD-              (see 602 at 8-9) – The person alleges that officers conducted a
              retaliatory cell search because of a 602 she filed, causing some of her property to
              be damaged or go missing. She also alleges that one of the officers called her
              racial slurs during the cell search. The allegations of retaliation and racial insults
              are on the ADI. See Discrimination/Harassment (1); Retaliation (2).

•             LAC-               (see 602 at 2-3) – The person alleges that the Control Officer
              delayed in opening his cell door and then closed the cell door on his body in
              retaliation for filing a 602 against the officer. The person also alleges that the
              Control Officer refused to call for medical when he told the officer that another
              incarcerated person was having a medical emergency, saying that he would not do
              so unless he saw the person fall onto the ground. These allegations of retaliation
              and endangerment are both on the ADI. See Retaliation (2); Other Misconduct
              (1).



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•             SATF-              (see 602 at 1-2) – The person alleges that while she was being
              interviewed about a staff complaint, the Sergeant misgendered her and then issued
              her a false and retaliatory RVR. She also alleges that the next day, an officer told
              her she would not be able to use “that transgender card,” referring to prior
              complaints she had filed against staff for misgendering her. This grievance
              includes multiple allegations on the ADI, including repeated misuse of pronouns
              or honorifics, dishonesty and retaliation. See Discrimination/Harassment (4);
              Dishonesty (1); Retaliation (1), (2).

•             COR-               (see 602 at 4-5) – The person alleges that an officer searched his
              cell in retaliation for yelling loudly out of his cell door that he was having chest
              pains, even though he explained to the officer at the time that he does not always
              realize how loudly he is speaking because he is deaf in one ear. The allegation of
              harassment because of a disability is on the ADI. See Discrimination/Harassment
              (2).

III.          OFFICERS ARE NOT COMPLYING WITH BWC POLICIES

        Plaintiffs’ counsel reviewed BWC footage from the productions covered in this
report to assess officers’ compliance with BWC policies and whether CDCR is holding
officers accountable for non-compliance. Our review shows that staff continue to violate
BWC policies and that investigators and Hiring Authorities sometimes fail to take
appropriate action when BWC videos reflect non-compliance. See also August 2023
Report at 37-39; May 2023 Report at 45-48; February 2023 Report at 49-52. Defendants’
BWC policies mandate that officers must keep their BWCs activated for the entirety of an
officer’s shift, except for specified deactivation events. See, e.g. Connie Gipson,
Clarification to the Body-Worn Camera Deactivation Events or Circumstances
(November 7, 2022). Officers must reactivate their cameras as soon as the deactivation
event has concluded, and announce their reactivation. See, e.g., BWC Operational Plan
No. 28 § VI.B.11 (RJD); Five Prison Remedial Plan Local Operations Procedures
§ VI.B.11 (LAC).

       In multiple cases, footage reveals that officers do not always wear their cameras,
as required by policy. For example, in RJD-              , Officer              is working in
the control booth. From the start of the footage, he is clearly not wearing his body worn
camera, and instead has it mounted on a fixed location. Midway through the footage at
1:39:56, Officer               picks up his body worn camera and moves it to a different
fixed location, where it stays for the remainder of the footage. See BWC. The
investigator failed to identify this policy violation. Similarly, in KVSP-            ,
Sergeant             removes his body worn camera twice, from 9:17:45 to 9:23:26 and
again from 9:26:06 to the end of the footage. Sergeant                places the camera on




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the desk next to him while he works on the computer. See BWC. Again, the investigator
failed to identify this policy violation. 43

        In several other cases, the officer reactivated his BWC in an improper
circumstance. In LAC-               , reviewed above, the footage begins with the officer
speaking to other officers in the housing unit office about issues he is facing with
incarcerated people during his shift. See BWC. Before deactivating his BWC, between
4:39:36- 4:40:25, he starts talking about an incarcerated person by the name                .
He states, “I got another issue...so I have           , he’s been in this building before. I
don’t know if it’s signed off by a clinician or not but he’s always been in 1 or 2. He went
over there to Charlie 5 and then came back into my building. They gave him fucking 241
Jcat             so they’re not meshing right now…. He says they fought and threw down
and I’m just like you don’t have any marks on you dude so how about you just be real
with me and be like hey we’re not meshing you know.... No we really do, we just fought
and I’m just like I don’t care. You know what, put it on the camera, I don’t really don’t
care anymore. This is fucking stupid.” Then at 4:40:35, the officer proceeds to deactivate
his BWC after another officer tells him she needs to speak with him and walk towards the
yard. After approximately 12 minutes, the officer reactivates his BWC, with no mention
of the reason why his BWC was deactivated, while he is cell side engaged in a
conversation with other officers and an incarcerated person. In SATF-                 , the
footage begins when Officer              reactivates his camera while speaking to an
unknown incarcerated person about grievances, among other issues. See BWC at
11:12:42. The investigator should have presented these improper reactivation, which
occurs only a minute before the incident at the center of the investigation, to the Hiring
Authority, but did not do so. 44

        Plaintiffs found additional violations, not discussed in this report, in which officers
failed to announce deactivations and reactivations. It is worth noting that Defendants’
BWC audit system would not identify many (if any) of these instances of BWC
noncompliance, as few (if any) of the videos contain deactivations exceeding 1.5 hours.



43
  It is unclear whether then one page AIU video quick-close report is the entire
investigation report, but the report does not note the policy violation.
44
   A memorandum dated April 14, 2023 was issued “to clarify corrective action was
issued outside the scope of the inquiry.” See Memo at 1. However, it is unclear whether
this refers to the improper reactivation. In the original Memorandum issued by the
Hiring Authority, additional findings were that staff “use[d] profanity when speaking to
an inmate and other inmates [and] … not wearing mandated mask [sic] as required.” See
Memorandum at 31. The case file is unclear regarding whether the corrective action was
related to those violations or to the BWC non-compliance.


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IV.           CONCLUSION

      Pursuant to the parties’ agreement, we expect to receive a response to this report
from Defendants by December 11, 2023. Plaintiffs will continue to work with
Defendants and the Court Expert to attempt to bring Defendants into compliance with the
Court’s Orders and the Remedial Plans.




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                                             APPENDIX A

  Prod. Last   CDCR    Grievance   Date       Summary of Allegation           Should have        Clarifying
  No.   Name   No.     No.         Rec’d                                      been on ADI?       Interview
                                                                                                 Required?

  1                                9/13/23    Officers are making false       Retaliation (2);
                                              reports on her in retaliation   Code of
                                              for filing 602s, causing her to Silence (1)
                                              be wrongly placed in the PIP,
                                              and gave her false RVRs.
                                              Her 602s have been denied
                                              because officers cover up
                                              evidence for each other.

  9                                8/2/23     Officer refused him access to   Discrimination
                                              the law library based on        / Harassment
                                              racial animus.                  (3)

  10                               7/31/23    Officer refused to provide      No
                                              him cleaning supplies, and
                                              falsely accused him of
                                              stealing cleaning supplies
                                              from staff bathroom.

  17                               8/21/23    An officer told him he could    Maybe              Yes, as it is
                                              not shower, even though his                        unclear whether
                                              neighbor (“a white guy”) had                       he is alleging
                                              just showered.                                     the motive is
                                                                                                 discrimination
                                                                                                 based on race.



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  Prod. Last   CDCR    Grievance   Date      Summary of Allegation            Should have       Clarifying
  No.   Name   No.     No.         Rec’d                                      been on ADI?      Interview
                                                                                                Required?

  20                               9/14/23   Committee staff disregarded      Integrity (1);
                                             safety concerns by sending       Other
                                             him back to the yard where       Misconduct
                                             incarcerated people were         (2)
                                             demanding he pay his former
                                             cellmate’s debt, despite
                                             knowing his life was in
                                             danger as he had disclosed
                                             the names of the people who
                                             were threatening him to staff.

  23                               9/15/23   Two officers routinely bark      No
                                             and yell at him and other
                                             incarcerated people in an
                                             unprofessional manner.

  25                               8/31/23   The CDCR sign language          Retaliation (1),
                                             interpreter is often very late  (4)
                                             and sometimes does not show
                                             up at all for his appointments,
                                             causing them to be canceled.
                                             She retaliates against Deaf
                                             people who go against her.




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  Prod. Last   CDCR    Grievance   Date      Summary of Allegation            Should have        Clarifying
  No.   Name   No.     No.         Rec’d                                      been on ADI?       Interview
                                                                                                 Required?

  26                               7/25/23   Lieutenant denied his request    Other
                                             for single-cell status due to    Misconduct
                                             his disability-related safety    (2); Retaliation
                                             concerns, and forced him to      (1), (4)
                                             house with a cellmate even
                                             though they each stated they
                                             were not compatible with
                                             each other. Staff are also
                                             blocking phone calls from his
                                             daughter in retaliation for
                                             seeking assistance “against
                                             this abuse of authority.”

  34                               9/18/23   Staff are responsible for his    No
                                             legal paperwork and other
                                             property going missing.

  35                               1/25/23   Sergeant lied on the response    Retaliation (2);
                                             to his prior 602 (alleging an    Code of
                                             incarcerated clerk is stealing   Silence (1),
                                             indigent envelopes), to cover    (4); Other
                                             up officers’ role in the         Misconduct
                                             scheme. He stopped getting       (6)
                                             his indigent envelopes in
                                             retaliation for the prior 602.




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  Prod. Last   CDCR    Grievance   Date      Summary of Allegation             Should have    Clarifying
  No.   Name   No.     No.         Rec’d                                       been on ADI?   Interview
                                                                                              Required?

  37                               9/6/23    Staff forced incarcerated         No
                                             people to eat dinner with
                                             sewage and feces on the
                                             floor, and refused to give
                                             them cleaning supplies to
                                             clean it up. This is the fourth
                                             time this has happened.

  46                               9/22/23   Staff failed to ducat him for a No
                                             telephonic court hearing,
                                             even though the Litigation
                                             Coordinator was served with
                                             the Order requiring them to
                                             do so, causing him to miss
                                             the hearing.

  60                               9/13/23   Officer is targeting him and   Discrimination
                                             harassing him because of his / Harassment
                                             race, including by denying     (2), (3)
                                             him access to yard to exercise
                                             and threatening to write a
                                             false RVR against him.




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  Prod. Last   CDCR    Grievance   Date      Summary of Allegation            Should have    Clarifying
  No.   Name   No.     No.         Rec’d                                      been on ADI?   Interview
                                                                                             Required?

  62                               7/6/23    Sergeant conducted a biased Code of
                                             interview of him regarding an Silence (4)
                                             assault by staff in order to
                                             protect the officers involved,
                                             and tried to file a false report
                                             on the incident.

  74                               5/23/23   Staff improperly refused to      No
                                             deliver books he ordered by
                                             mail and returned them to the
                                             vendor without notice to him
                                             while he was in the ASU for
                                             non-disciplinary reasons.

  77                               8/28/23   Mail room staff stole artwork    No
                                             he sent to a friend, part of a
                                             pattern of tampering with his
                                             mail, including legal mail.

  78                               8/29/23   Mail room staff improperly       No
                                             returning indigent envelopes
                                             and refusing to send personal
                                             mail to his family and legal
                                             mail to the courts.




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  Prod. Last   CDCR    Grievance   Date      Summary of Allegation            Should have        Clarifying
  No.   Name   No.     No.         Rec’d                                      been on ADI?       Interview
                                                                                                 Required?

  85                               8/4/23    A Sergeant ordered him to        Retaliation (2);
                                             get to the back of the chow      Other
                                             line and then tried to           Misconduct
                                             handcuff him in retaliation      (4)
                                             for filing a 602. The
                                             Sergeant is disrespectful and
                                             threatens incarcerated people.

  97                               9/21/23   An officer sexually assaulted    Staff Sexual
                                             him. The 602 names the           Misconduct
                                             officer and describes the        (2)
                                             circumstances in sufficient
                                             detail to investigate.




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                                          APPENDIX B

  KVSP

                          See discussion in report.

  COR

                          Due to the AIU investigator’s delay in beginning the investigation,
                          the investigator could not obtain BWC and fixed camera footage
                          to investigate the allegations. This video footage, particularly
                          BWC footage, was necessary to meaningfully investigate the
                          allegation that staff were making statements that endangered the
                          class member.
                          A central issue in this case is whether an LVN examined the class
                          member, which medical staff and the class member disputed.
                          Despite the BWC footage failing to show either way whether
                          medical staff examined the class member, the AIU investigator
                          failed to obtain fixed camera footage from the program office that
                          could have confirmed whether the LVN examined the class
                          member.
                          The investigation report references video footage, including a
                          conversation between a nurse and officers about the class
                          member’s disability, that Defendants did not produce to Plaintiffs.

  LAC

                          In this case, the investigator failed to account for BWC footage
                          that potentially contradicted the investigator’s conclusions. The
                          issue was whether the subject officer was instructed to
                          intentionally deactivate her BWC during an RVR hearing. The
                          investigator concluded based on one set of BWC footage that the
                          subject officer had her BWC deactivated for almost two hours, and
                          well before the RVR hearing, which precluded any video evidence
                          of a deactivation right before the RVR hearing. However, the
                          investigator failed to account for the other BWC footage in the
                          case file, which showed that the subject officer’s BWC was not
                          deactivated for that entire two-hour stretch, and which therefore
                          indicated that additional footage immediately preceding the RVR
                          hearing may have existed.
                          See discussion in report.



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                          See discussion in report.

  SATF

                          CDCR did not produce complete footage of the class member’s
                          interaction with three officers. At the beginning of the footage, the
                          class member is already speaking to the officers, which leaves it
                          unclear what the officers already said to the class member or said
                          to the librarian who refused to let the class member use the toilet.
                          The class member alleged that an officer directed the tower to
                          open the class member’s door while she was naked and drying off
                          from a bird bath. Regarding the subject officer, BWC was
                          apparently unavailable, as SATF ISU stated that the “server
                          showed no footage was recorded on that date for that BWC.” The
                          investigator did not further inquire into this issue.

                          The investigator also conducted only minimal investigation into
                          whether the subject officer allowed other incarcerated people to
                          cover up their windows, as the investigator reviewed only one
                          hour of AVSS footage from only one angle (and apparently did so
                          only to view the interaction between the class member and subject
                          officer). Further video could have helped the investigator
                          determine whether the subject officer singled out the class member
                          for their window coverings.
                          As the investigator acknowledged in the report, video footage was
                          unavailable due to CDCR’s delays in the investigation: “I did not
                          request AVSS as I did not receive the case till approximately 11
                          months 2 weeks after the date of the event, and the typical AVSS
                          retention period is 90 days.” Video footage could have helped
                          identify potential witnesses to the incident, and thus whether
                          officers instructed other incarcerated people to attack the class
                          member.
                          The investigator received the referral within 90 days of the
                          incident, but failed to preserve BWC or AVSS of the incident, or
                          to provide any justification for doing so in his report. In fact, the
                          report omits any discussion of video altogether. SATF ultimately
                          sustained the allegation based on the officer’s admission that he
                          failed to strap down the class member in a transport van, but
                          reviewing video was necessary to ascertain the degree of the
                          officer’s culpability and harm to the class member.




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                          The class member alleged that two officers denied him transport in
                          an ADA van with a lift, contributing to a fall. An officer denied
                          doing so in an interview. Video was thus necessary to resolve the
                          class member’s and the officer’s differing accounts. Yet the
                          investigator failed to obtain BWC footage of the two officers in
                          question to verify whether the class member requested an ADA
                          van with a lift before departing from the hospital.
                          In this case, the class member alleged that staff forced him to wait
                          in a soiled diaper after he requested an incontinence shower. The
                          investigator reviewed video from a Sergeant who interacted with
                          the class member after the alleged incident, but failed to review
                          video from the tower officer—who claimed in his interview that
                          he immediately called for assistance once the class member
                          reported an incontinence accident.

  RJD

                          The investigator failed to initiate their investigation until well after
                          the 90-day retention period lapsed, despite being assigned the case
                          within the retention period and obtaining information from the
                          class member regarding a time range for when staff were ignoring
                          man-down calls in the unit.
                          The class member alleged that for two months, an officer had been
                          tampering with his food tray, and that the same officer conducted
                          an improper cell search on November 14, 2022. The investigator
                          reviewed video from only November 14 related to the food tray
                          allegation (apparently because it was retained due to an incident
                          report), but could not review any video of the cell search because
                          the investigator was not assigned to the case until after the 90-day
                          retention period ran. The class member had promptly filed his
                          grievance well within the 90-day retention period.
                          A class member alleged officers had encouraged incarcerated
                          people to attack the class member, had permitted incarcerated
                          people to enter the class member’s housing unit even though they
                          did not live in that unit, and spoke with incarcerated people who
                          later attacked the class member. The investigator failed to review
                          BWC footage from all officers who responded to the incident.
                          The investigator also failed to review any AVSS footage from
                          inside the housing unit, which would have shown whether officers
                          allowed the incarcerated people to enter the unit or spoke with the
                          attackers. Instead, the investigator reviewed only footage from the


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                          attack itself, which was insufficient to address the full scope of the
                          class member’s allegations.
                          The class member alleged that they reported safety concerns about
                          their cellmate to a named officer, but the officer ignored the safety
                          concerns, and the class member was housed with the cellmate for
                          another week. The class member promptly filed a grievance
                          within 10 days of the incident. Yet by the time CDCR assigned an
                          investigator, 90 days had elapsed since the incident, and the AIU
                          Lieutenant was unable to request or review any video footage.

  CIW

                          The investigator, without any explanation, failed to request video
                          to investigate this allegation that staff were aware that a group of
                          incarcerated people had surrounded and threatened the class
                          member and her roommate, but did nothing to address the
                          situation.

                          Because of a nine-month delay in starting the investigation, video
                          evidence was unavailable to investigate this allegation that an
                          officer retaliated against a class member for filing a 602 against
                          the officer.

                          The investigator, without any explanation, failed to request AVSS
                          video to investigate the allegation that a supervising cook had
                          falsely issued an RVR to the claimant for attempting to obtain a
                          special diet meal and a general population meal.

                          Though the claimant filed a 602 within a few weeks of the
                          incident, CIW did not process the claim for nearly four months,
                          meaning that video was unavailable to investigate the allegations
                          that an officer had failed to lock the claimant’s door, resulting in
                          other incarcerated people stealing claimant’s property; that the
                          officer laughed when informed of the theft; and then the officer
                          filed false RVRs against the claimant.

                          BWC footage was not available to investigate multiple allegations
                          that a Lieutenant was harassing the claimant because the
                          investigator delayed almost nine months in requesting it.




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                                       September 11, 2023


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              Re:   Armstrong v. Newsom: Plaintiffs’ Objections to Early Warning System
                    (“EWS”)
                    Our File No. 0581-03

Dear Tamiya:

      Thank you for producing Defendants’ explanation of the current status of the Early
Warning System (“EWS”) on August 21, 2023. A copy of that document, Defendants’
“EWS Alert Process,” is attached hereto as Exhibit A.

        CDCR should be commended for creating a system with the level of detail,
complexity, and comprehensiveness of the current iteration of the EWS. With few
exceptions, the EWS already includes the data that is critical and necessary to track past
staff misconduct and to prevent future incidents from occurring, as required by the
Armstrong Court. However, because the EWS fails to send alerts regarding the most
critical and relevant data, and because existing alerts fall short of warning staff of staff
misconduct related problems, the EWS currently fails to accomplish Court Ordered and
Remedial Plan objectives.

      In granting Plaintiffs’ request for remedial measures at the Six Prisons, the Court
ordered CDCR to develop an EWS to correct deficiencies in systems “incapable of
generating reports that could help Defendants identify critical information necessary to



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track past staff misconduct incidents and prevent future ones.” Dkt. 3217 at 53 (citing
Dkt. 3205, Ex. A at 1, OIG Report regarding AIMS).

       To achieve the court-ordered purpose of generating reports to identify past and
prevent future misconduct, Defendants agreed in the Remedial Plans to “identify trends
related to staff misconduct and other indicators of potential operational issues and to
suggest steps that might prevent misconduct. Data will be gathered from multiple CDCR
databases, including SOMS, CMS, the 2140 log, and others and compiled to create
automated Early Warning System dashboards, with red flag and alert systems which can
be viewed by institution leadership and CDCR executives. In addition, the Early
Warning System dashboards will be programmed to send automated alerts and warnings
to impacted locations when alarming trends surface.” Dkt. 3392-2 at 14.

        The EWS, as currently designed, fails to generate reports that “alert” Hiring
Authorities and management staff of the most critical information contained within the
system as required to help them “track past staff misconduct incidents and prevent future
ones,” Dkt. 3217. The vast majority of the critical information is buried within
confusing and complex sub-layers of the system and, without any clear requirement or
guidance for accessing that information, the onus is on busy Hiring Authorities and
executives to find it. The system does currently generate three different types of “alerts”
but, as explained in more detail below, the existing alerts do not contain the most relevant
information necessary to alert staff to potential problems. Most significantly, those alerts
are threshold based and lack context; they therefore fail to provide Hiring Authorities
with information about how the data regarding significant indicators is trending at their
prisons.

        CDCR stands at the precipice of opportunity. Much of the data necessary to create
a meaningful “warning” system that generates reports and alerts to Hiring Authorities and
executives to potential smoke, before a fire, appears to already exist within the system.
To fully achieve its Court-Ordered purpose, the EWS must do more than leave to
chance the discovery of the most critical information contained within. By revising
and expanding on existing alerts, and by including crucial, institution-specific, trend
data in such email alerts, the EWS will comply with Court Order and accomplish
Remedial Plan goals of providing Hiring Authorities and other executives with the
reports necessary to identify potential problems. If left unchanged, the system will
fall far short.

       On July 5, 2023, Defendants provided a demonstration of the current EWS. On
August 21, 2023, Defendants provided a written explanation of the EWS, including
screenshots from the system. Based on the demonstration, explanation, and Defendants’


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other statements about the EWS over the course of negotiations, Plaintiffs respectfully
object to Defendants’ EWS as not compliant with the Remedial Plans.

I.            The EWS Alerts All Fail to Provide Useful, Actionable Information for
              Hiring Authorities to Identify Trends and Prevent Staff Misconduct

       As explained in Exhibit A, the EWS sends “executive staff” 1, including Hiring
Authorities, email alerts on a monthly basis. That alert is sent only if the institution
passes certain thresholds, with those thresholds discussed in more detail below. The
EWS also consists of a dashboard, with several sub-levels within, which executive staff
can access if they receive an EWS alert email by clicking through links included in that
alert email. 2 If an institution does not pass certain thresholds, no email alert is sent.
Alerts are currently only sent based on an institution passing any of three different
thresholds. Below, Plaintiffs discuss the shortcomings of the current alerts and the
opportunities for expansion to achieve Court-Ordered requirements.

              A.    The Alerts Regarding Staff Complaints Exceeding Specified
                    Thresholds Fail to Capture Important Trend Data

       Two of the three alerts are calibrated based on the institution crossing a certain
threshold regarding the number of staff complaints filed. These alerts, based on total
number of complaints which are devoid of context regarding trends in the number of
complaints over time, and devoid of information regarding the type of misconduct
alleged, fail to provide Hiring Authorities and executives with helpful and actionable
information about past and future misconduct. Instead of generating alerts based only
on a prison passing an arbitrary threshold number of complaints, to achieve
compliance with the Court Order and Remedial Plans, the EWS should
automatically send a monthly report to all Hiring Authorities and executive staff
alerting them to trends in monthly staff misconduct complaints by all ADI
categories.

       Defendants’ first alert, Total Staff Misconduct Complaints, By Facility,
currently falls short of providing Hiring Authorities with helpful information to prevent
future misconduct. Per this alert, if staff misconduct complaints exceed more than 10
complaints per 100 incarcerated people on any facility within the prison, the EWS will

1
  Based on the July 5 meeting with Defendants, Plaintiffs understand that wardens,
associate wardens, and the DAI leadership team receive the alerts.
2
  It is unclear if or how executive staff can reach the EWS dashboard if they receive no
email alert in a given month.

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alert executive staff that a given facility (or facilities) has exceeded the threshold. If the
total number of complaints does not exceed the threshold, no alert is sent. However, to
learn more and see the actual rate of complaints on any facilities that exceed this
threshold, the Hiring Authority must open an attachment to the alert email that includes
the complaint rate. To access the most helpful information about the complaints filed on
that facility, the Hiring Authority must then click the buttons included in the email and
voluntarily seek out that additional information by clicking through multiple pages in the
EWS dashboard.

         Simply alerting staff to the Total Staff Misconduct Complaints, by Facility, is
of little value. For one, the total number of complaints on a facility is only relevant if you
consider the trends regarding staff misconduct complaints on that facility over time. The
fact that there has been an increase in complaints over time will help staff identify when
there is a potential “hot spot” even if complaints do not surpass a magic threshold.
Similarly, providing trend data will also help staff identify when complaints are
decreasing over time which may signify that reform efforts are working.

        Second, a high number of complaints on a Facility is a somewhat arbitrary and
incomplete measure of whether there is a problem with staff misconduct. A
disproportionately high number of complaints (when compared to other Facilities with a
similar population) could be indicative of one type of problem. At the same time, the
opposite situation—a disproportionally low number of staff complaints—could be
equally indicative of a serious problem (if complaints were low due to fear of retaliation
for filing complaints). The current alert will never identify such a problem.

       The second type of alert, Staff Misconduct Complaints Regarding Use of Force
or PREA, By Institution, goes slightly further in providing some measure of trend data
regarding complaints at the prison. If staff misconduct complaints regarding either use of
force (“UOF”) or staff sexual misconduct (“PREA”) exceed more than 1.5 complaints per
100 incarcerated people, the Hiring Authority will receive a monthly alert notification.

      However, this alert also falls far short. First, to comply with the Court Order, it
should alert staff as to complaints regarding all categories of serious staff misconduct on
the ADI, not just UOF and PREA. Having a comprehensive view of trends concerning
complaints regarding all types of serious staff misconduct is necessary to effectively
manage the prison, understand past and ongoing problems, and prevent future
misconduct. The Court’s Order is not limited to staff misconduct involving PREA or
UOF incidents.




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        The Hiring Authority must again click an attachment to compare the total number
of PREA (or UOF) complaints from the prior month and the current month. That
attachment also includes three buttons that can lead to further information in the EWS
dashboard. Here again, critical information regarding staff misconduct trends in ADI
categories is embedded in sub-levels of the EWS dashboard. From the alert email
attachment, staff can click through to a “Flagged Facility Alert” button. This button takes
the user to a dashboard that shows all flagged facilities at the institution over the course
of the last six months, with trends in the total number of complaints and the top ADI
categories by facility and institution-wide. Helpfully, this page also includes a summary
with information about dominant ADI categories on specific facilities. This page may
inform executive staff, for example, that UOF is the dominant issue on a specific yard.
The page, however, lacks trend information with respect to each of the ADI categories
listed. This trend data is critical to enabling executive staff to understand if UOF is an
increasing issue as compared to prior months. Without such trend information, it is
nearly impossible for executive staff to put complaints in context and understand if and
how to address UOF issues on a particular facility.

       To further identify which staff members correspond with staff complaints in a
given ADI category, executives must click through to another sub-layer accessed by a
button on the “Flagged Facility” page to reach the “More Information about Staff
Identified on ADI” page. Then executive staff must click yet another page to view
complaints by ADI sub-category, and then yet another to reach AASTS to compare the
specifics of allegations. The EWS brief suggests that in AASTS, executive staff can only
review a single complaint at a time, rather than comparing multiple complaints against an
officer in a single view. 3 It seems highly unlikely that any Hiring Authority or their
designee, with many demands on their time, will click all the way through to AASTS to
compare UOF allegations against a specific officer and potentially identify troubling
patterns.

        The purpose of the EWS is to correct deficiencies in CDCR’s systems which are
“incapable of generating reports that could help Defendants identify critical information
necessary to track past staff misconduct incidents and prevent future ones.” Dkt. 3217 at
53 (citing Dkt. 3205, Ex. A at 1, OIG Report regarding AIMS). The EWS dashboard
appears to contain a trove of useful information. However, for the reasons set forth
above, it clearly fails to generate reports that will be helpful to Hiring Authorities. To be
helpful, the content of the email alerts is critical, especially for busy executives who may

3
  The brief also lacks information about other pages in the EWS dashboard, such as the
“ADI Info” page. Without that information, Plaintiffs cannot evaluate the usefulness of
that page.

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go no further than the email, and thus should contain all information necessary to
understand whether or not there is problem regarding staff misconduct complaint trends,
the Facility where the problem exists, and the type of complaint that is trending in the
wrong direction.

        Recommendation: Every month, Hiring Authorities and executive staff should
receive an alert with trend data for all categories of staff complaints on the ADI
categories for their prison. Specifically, the EWS should automatically send a monthly
alert to executive staff showing trends in monthly staff misconduct complaints by all ADI
categories by facility. The alert should capture trend data from at least the prior six
months to provide context to executive staff regarding the current month’s staff
complaint data. The alert should include complaints in ADI categories by facility to
enable Hiring Authorities to identify potential “hot spots” at the institution.

       Beyond the email alert, CDCR must require Hiring Authorities, if the alert
contains an alarming trend, to spend time additional time in the EWS necessary to better
understand what might be occurring and to work with CDCR leadership on a response.
The use of the EWS should be an iterative process. To determine whether and how
Hiring Authorities and leadership are engaging with the EWS, whether it is useful and
how to access other information within the EWS that might be useful for specific Hiring
Authorities purposes, CDCR must engage the institutions regularly to determine needs.
CDCR should also track use of the EWS to ensure Hiring Authorities and their designees
are actually engaging with this important management tool and, if not, should reach out
to those institutions to provide additional support.

              B.    The Top 10 Statewide Staff Alert Fails to Highlight Potential Problem
                    Staff at the Institution Level

        The third and final alert included in the current EWS, as explained in Exhibit A,
indicates that—regarding complaints that allege a specific staff member engaged in
misconduct—executive staff will be alerted only when a staff member at the institution
winds up on the “top ten list” of staff members statewide with the most staff complaints
filed against them, either within the last month or over the last thirteen (13) months. Like
the other alerts, this alert fails to provide Hiring Authorities with useful, actionable
information about potential problems at their institution.

        Since 2007, the Armstrong Court has attempted to get institution management to
utilize information about repeated complaints against the same staff members.
Defendants were ordered to “track the record of each institution and the conduct of
individual staff members” who are failing to comply with requirements and to “refer


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individuals with repeated instances of non-compliance to the Office of Internal Affairs
for investigation and discipline, if appropriate.” Dkt. 1045 at 7 (Jan. 18, 2007).

         The Court clearly understood that the record of what was occurring at each prison
was relevant for management of disability compliance at that prison. However, with this
alert, if no staff member at the institution winds up in the statewide Top 10, the executive
staff will not be alerted about any potentially problematic staff at the prison. To comply
with Court-Ordered requirements to “track the record of each institution and the conduct
of individual staff members” as well as to “identify critical information necessary to track
past staff misconduct incidents and prevent future ones” the system must alert Hiring
Authorities to problematic trends in complaints against staff at their prisons, not
complaints against staff at other prisons who have reached the threshold of being in the
Top Ten statewide. Dkt. 1045 at 8; Dkt. 3217 at 53.

       As CDCR’s own explanation of their EWS shows, one incarcerated individual
filing multiple (potentially duplicative) complaints against the same staff members (even
with the top five statewide complainants removed) can skew the list of the Top 10 staff
members by complaint statewide. See Ex. A, page 7, indicating that a single complainant
is primarily responsible for the allegations leading three staff members to end up on the
Top 10 statewide list. It is also possible that certain staff members, such as those
responsible for strip-outs, may face the highest raw number of complaints in a given
period.

       Again, even if the Top 10 alert does trigger a warning to a Hiring Authority, the
email itself simply states the number of staff members who appear in the Top 10 without
their names or further information that is critical to understanding the problem. That
additional information is again available only to the executive who takes the time to click
the button included in the email attachment and to hunt further.

        The EWS dashboard appears to contain some of the critical information about
potential problem staff that is necessary to track past misconduct and prevent future
harm. For example, the “Top Staff Alert” button reachable via the alert attachment
includes a summary with more detail about the ADI category of claims against the top
staff. The “More Information About Staff Identified on ADI” button also lists staff by
the ADI category of individual claims, which is useful to identify patterns—if executive
staff reaches it. However, to actually compare the factual allegations across specific
complaints—such as to determine whether the same staff member is alleged to have used
similar force against multiple incarcerated people—a Hiring Authority needs to copy the
AASTS number of each individual allegation and navigate to AASTS to look at each
allegation individually.


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      Having this information buried in the current EWS falls short of the intended
purpose of an EWS. The current system does not actually “warn” staff of problems. It
simply provides access to that information if someone is inclined to look for it.

Recommendation: The EWS should alert the Hiring Authority and executive staff about
potentially problematic staff at their institution each month. Specifically, Defendants
could include a Top 10 alert, but it should be the 10 staff at their institution each month
who receive the highest number of staff complaints. To weed out potential repeat
complaints by a single individual against the same staff members, the alert should
distinguish complaints filed by different incarcerated people. The alert should also
identify the top ADI category of complaints against the given staff members, so that
executive staff can quickly and easily understand, as has been the concern of the Court
for years, whether repeated complaints of non-compliance are being alleged against the
same potentially problematic staff at their institution.

II.           Other Deficiencies and Problems in EWS

              A.    Defendants Have Not Provided Information About the Thresholds for
                    Most Key Performance Indicators

       The parties agreed that the system would include key performance indicators
(“KPIs”) to assist Defendants in identifying “trends related to staff misconduct and other
indicators of potential operational issues and to suggest steps that might prevent
misconduct.” (See list of key performance indicators included in Plaintiffs’
December 22, 2021 letter, attached hereto as Exhibit B.)

       The spreadsheet Defendants provided on August 21, 2023 includes no information
about the thresholds for several KPIs, including total grievances, unexpected deaths,
homicides, suicides, Narcan use, overdoses, outcome on sustained 4, and RVRs/# of
disciplinary actions. The spreadsheet simply says “Available in EWS.” Defendants must
explain when each of these categories will flag in EWS and demonstrate how the flag
will appear in EWS.

       Regarding the RVR category specifically, Defendants have already agreed to
evaluate whether the EWS could flag when a staff member has initiated a
disproportionate number of RVRs, when an incarcerated person has received a
disproportionate number of RVRs, and when an incarcerated person receives an RVR

4
 Plaintiffs’ counsel seek clarification on what “outcome on sustained” refers to in
Defendants written explanation of the EWS.

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within a certain period time after having filed a staff complaint. See Dkt. 3412 at 9-10.
Providing this information to Hiring Authorities about these critical indicators of
potential retaliation against incarcerated people is necessary to meet the Court-Ordered
objective of tracking past staff misconduct and preventing future harm. Defendants’
spreadsheet lacks any information on this long-discussed KPI.

              B.    EWS Does Not Appear to Track All Information the Court Ordered

       Based on the demonstration and brief Defendants provided, it is unclear to
Plaintiffs if EWS tracks, as is required, information about the “date,” “time,” and
“location” of staff misconduct complaints, as well as class members’ disabilities and any
injuries suffered in connection with the incident, as required by the Court’s order. See
Dkt. 3218 at 5-6. The EWS alerts and dashboard, as presented by Defendants, do not
appear to include this information about staff misconduct complaints or permit Hiring
Authorities to sort complaints by a given date, time, location, or disability. Please report
on whether EWS includes this information.

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III.          Conclusion

        Plaintiffs’ counsel looks forward to meeting on September 25, 2023. We seek to
resolve EWS negotiations quickly and to determine whether or not it will be necessary to
invoke the dispute resolution process outlined in stipulation. (See Stipulation Regarding
Dispute Resolution with the Court Expert Concerning Limited Areas of the RJD and Five
Prisons Remedial Plan, ¶ 6, Exhibit C.) As stated there, the parties shall, on a schedule
set by the Court Expert, submit briefs to the Court Expert who shall then submit to the
Court a report and recommendation regarding a proposed resolution of the dispute
between the parties.

                                                          Sincerely,
                                                          ROSEN BIEN
                                                          GALVAN & GRUNFELD LLP
                                                          /s/ Penny Godbold
                                                    By: Penny Godbold
                                                        Of Counsel
PMG:ln
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               Nicholas Meyer      Audrey Barron                  Joshua (Jay) Leon Guerrero
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               Trace Maiorino      Joseph Williams                Mona Houston
               Sean Lodholz        Cathy Jefferson                Lois Welch
               Olena Likhachova    Jason Anderson                 Steven Faris
               Mark Jackson        Jane Moses                     CDCR CAMU
               Ed Swanson          Aaron Perez                    Alexandrea Tonis
                                                                  Co-Counsel




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                                   November 10, 2023

VIA ELECTRONIC MAIL ONLY

Tamiya Davis
CDCR Office of Legal Affairs
Tamiya.Daivs@cdcr.gc.gov

       Re:     Armstrong v. Newsom: Plaintiffs’ Comments on October 2023 DAI
               Executive Monthly Report and Early Warning System
               Our File No. 0581-03

Dear Tamiya:

       Thank you for producing the Division of Adult Institution Executive Monthly
Summary Report, on October 30, 2023, attached hereto as Exhibit A. Plaintiffs’ counsel
have reviewed this document in conjunction with the explanation of Defendants’ Early
Warning System (“EWS Alert Process”), attached hereto as Exhibit B.

       As stated previously, there is an impressive amount of data collected and
contained within Defendants’ new Early Warning System (“EWS”) that can certainly
“help Defendants identify critical information necessary to track past staff misconduct
incidents and prevent future ones” from occurring, as required by Court Order. Dkt.
3217 at 53. But the Court also sought to have Defendants correct deficiencies in their
existing system, which was found to be “incapable of generating reports” necessary to
meet court-ordered objectives. Id. As explained below and in our prior letters, the
reports that are generated for DAI executives (Exhibit A) and alerts that are sent to
Hiring Authorities under limited circumstances (Exhibit B) fall short of notifying Hiring
Authorities of staff misconduct trends and problematic staff within their prison, and
therefore continue to fail to accomplish these court-ordered objectives.

        In order to comply, Defendants must generate reports that are institution-specific.
Since the inception of the Armstrong Court’s efforts to eliminate violations of the
Americans with Disabilities Act (“ADA”) by holding staff accountable in 2007, the Court
has tried to get Defendants to create a system that works—at the institution level—to
“track the record of each institution and the conduct of individual staff members who are
not complying with these [ADA] requirements.” Dkt. 1045 at 7. Defendants have
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created multiple systems over the years but have resisted efforts to create a useful tool for
Wardens and prison administrators to actually identify and address local trends.

        Staff misconduct varies by prison and prison yard. In order to be able to “track
past staff misconduct incidents and prevent future ones” from occurring, Wardens must
understand what is happening at the local level, on each prison yard, and among the
individual staff working there. The Court’s original accountability order makes
abundantly clear that to stem the tide of problems, Wardens must know and be held
responsible for what is happening at their prison. See Dkt. 1045 at 7. The EWS must
therefore serve Wardens by generating reports that are specific to their institutions.
The reports should be sent regularly to each Warden as well as prison administrators.
The current EWS, which sends limited alerts to Hiring Authorities when thresholds are
met and sends regular reports only to DAI executives about statewide trends, does not
provide Wardens with critical information necessary to “track past staff misconduct
incidents and prevent future ones.” Dkt. 3217 at 53.

        One has to look no further than Plaintiffs’ November 6, 2023 report on
Defendants’ accountability system to see two cases that illustrate the need for Hiring
Authorities to be alerted to problems occurring in their prisons and the failure of the
current EWS to serve this purpose. Plaintiffs’ report describes two examples of
problematic staff members at two different prisons who were the subject of multiple
complaints regarding consistent types of problematic behavior. (See November 6, 2023
Report at PDF 12-22 ). In one case, the officer was the subject of multiple findings of
staff misconduct for the same behavior. The Hiring Authorities at each prison, RJD and
LAC, were seemingly unaware of persistent complaints against—and confirmed
misconduct involving—these staff members, and failed to impose progressive discipline.
A functioning EWS should, at the very least, generate reports (or alerts) that assist Hiring
Authorities and prison administrators in recognizing when multiple similar complaints
are being filed against one staff member. The purpose is to detect smoke before there is a
full-scale fire.

       As explained below, and as set forth in more detail in Plaintiffs September 11,
2023, letter, Defendants’ EWS currently fails to notify Wardens of the most critical
information necessary to track staff misconduct and prevent future harm. At a minimum
the EWS should:
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1.     Generate and send a monthly report to every Warden that includes data
       regarding staff misconduct complaint trends, including for each ADI
       category, for their prison.

        Defendants’ system currently only generates monthly reports for DAI executives,
and those reports are primarily focused on statewide data trends. (See Ex. A at 2-4, 6-9,
11-16). Only two of the pages in the report—routing of CST claims by prison, id. at 5
and staff complaints per 100 incarcerated people by prison, id. at 10, provide any data on
a prison-specific level. The statewide data provide helpful information regarding whether
the number of complaints is trending up or down for certain prisons and whether any
prisons have crossed a threshold. But they do not provide Hiring Authorities or
administrators at headquarters who supervise the Hiring Authorities with any clarity
regarding what is happening at specific institutions, which should be the primary purpose
of the system. Currently, Hiring Authorities do not receive any institution specific trend
reports. Hiring Authorities only receive an alert from the system regarding staff
complaints when complaints pass a threshold number per 100 incarcerated people.

       As detailed in Plaintiffs’ September 11, 2023 letter, data regarding trends in staff
complaints, the type of complaints by ADI category, and location of complaints being
filed appear to be captured in the EWS system. But Hiring Authorities have to navigate
multiple levels of the system to seek this information out. There is no requirement
regarding how often, nor what information about their prison, they should be accessing in
the EWS.

       The limited information that is sent to Hiring Authorities, currently only a
threshold alert email if, for example, complaints exceed a threshold number per 100
people on a prison yard, fails to provide information to Wardens about what is actually
happening at their prison. If there is a sharp decrease in complaints, either because
reforms are working or because fear of retaliation has increased and people are afraid to
file complaints, Wardens should know. Yet this would not trigger an alert. If multiple
people on one yard complain about a particular officer engaged in disrespect or denying
disability accommodations (as documented in Plaintiffs’ November 2023 Report) that
information should be presented to Hiring Authorities. Yet that would not trigger an
alert.

       Hiring Authorities should automatically receive a monthly, institution-
specific, trend report that clearly identifies complaints by ADI category, yard, and
staff member. Slide 12 of the DAI Monthly Summary Report, for example, shows a
breakdown of the top ADI categories reported in the EWS statewide over the past
calendar year. See Ex. A at 12. While this is a useful report to provide CDCR
headquarters with a bird’s-eye view of statewide staff misconduct trends, a statewide
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report like this provides little utility to Hiring Authorities. By contrast, a monthly report
to each Hiring Authority—breaking down the staff misconduct claims by ADI category
and sub-category at their institutions—would have immense value and would actually
further the court-ordered requirements that CDCR “track past staff misconduct incidents
and prevent future ones.” Dkt. 3217 at 53.

2.     Alert the Hiring Authority and executive staff about potentially problematic
       staff at their institution each month.

       The trend report that each Hiring Authority should receive monthly, described
above, should also include trend information regarding individual staff members at the
prison who receive multiple complaints. Hiring Authorities are not currently notified
when multiple complaints are filed against a specific staff member. A Hiring Authority
might receive an alert if a staff member rises to the level of having the Top 10 most
complaints filed against them statewide. And, even then, the Top 10 alert does not
include the staff member’s name or further information that is critical to understanding
the nature of the problem (such as the nature of the complaints against them). It is
unclear what purpose the statewide Top 10 alert is intended to accomplish; it provides no
useful information to Hiring Authorities and can in fact lead Hiring Authorities to believe
that because none of their staff appear on that report, no problems exist.

       The current alert would not detect the problems reported in Plaintiffs’ November
6, 2023 report discussed above, since despite multiple consistent staff misconduct
allegations against the officers in question, they would not likely rise to the level of a
statewide Top 10 list. If the EWS cannot provide alerts in these cases, which are
precisely the type of problem that the Court has been trying to root out of CDCR since
2007, the EWS’ usefulness is limited at best.

      To correct current deficiencies, Hiring Authorities should receive monthly
reports identifying staff members who have received multiple complaints against
them over time.

       Finally, it is worth noting that Defendants’ EWS contains additional information
that could be helpful to Hiring Authorities and prison administrators, especially in better
understanding whether and how people with certain disabilities are struggling. For
example, Slide 6 of the DAI Monthly Summary Report, shows the system is capable of
reporting on the number of staff misconduct complaints by disability code. Ex. A at 6.
The current report shows only the statewide totals, however. This data, provided to
Hiring Authorities about complaints filed at their prisons could be probative of potential
problems. As it stands, the Report shows the raw number of staff misconduct claims by
disability code, and the percentage of the total staff misconduct claims submitted by
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persons with each disability code (e.g., that there were 1837 staff misconduct claims
submitted statewide by DNH class members, or 10.1% of the total number of staff
misconduct complaints). Ex. A at 6. To put that data into perspective, it would be useful
to show the percentage in relation to the percentage of the population they represent so
one could determine whether people with certain disability codes are submitting a higher
(or lower) number of staff misconduct claims than you would expect given their
percentage of the overall population. By currently omitting the denominator—the
percentage of the total population that is a member of each class—this slide includes no
information that would allow someone to determine whether Armstrong, Clark or
Coleman class members are submitting a disproportionately high or low number of staff
complaints.

       If such data for each prison were provided monthly to Hiring Authorities, it could
be useful in determining whether certain class members were being targeted or were
otherwise having a difficult time as a result of their disabilities at particular prisons or
yards. Such information would provide Hiring Authorities with the tools necessary to
address the problems, particularly if these data presentation errors are corrected.

       In conclusion, if Defendants generate automatic monthly reports for each Warden
regarding data for their individual prison, including trends in staff complaints broken out
by yard, ADI category, and identifying staff members with multiple complaints against
them over time, they will be able to identify “critical information necessary to track past

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staff misconduct incidents and prevent future ones” from occurring as required by Court
Order. Dkt. 3217 at 53. We hope Defendants will take this important step and look
forward to hearing back from you.

                                                         Sincerely,
                                                         ROSEN BIEN
                                                         GALVAN & GRUNFELD LLP
                                                         /s/ Penny Godbold
                                                  By: Penny Godbold
                                                      Of Counsel
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    August Gugelmann    Ava Lau-Silviera    Robin Hart
    Audrey Baron        Mona Houston        CCHCS Accountability
    Patricia Ferguson   Lourdes White       Joseph Williams
    Nicholas Meyer      Jillian Hernandez   Cathy Jefferson
    Chor Thao           Cory Lo             Jason Anderson
    Ramon Ruiz          CDCR CAMU           Dawn Lorey
    OLA Armstrong       Brianne Burkart     Jane Moses
    Olena Likhachova    Lois Welch          Joshua (Jay) Leon Guerrero
    Trace Maiorino      Steven Faris        Aaron Perez
    Sean Lodholz        Diana Toche         Amarik Singh
    Sharon Garske       Joseph Bick         Co-Counsel
    Anne Kammer         Ursula Stuter
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            EXHIBIT D
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                                                                                                  Director:
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VIA EMAIL ONLY                                                                                    Sophie Hart
                                                                                                  Marissa Hatton
November 2, 2023                                                                                  Jacob Hutt
                                                                                                  A.D. Lewis
                                                                                                  Rita Lomio
Ramon Ruiz                                                                                        Sara Norman
CDCR Office of Legal Affairs

RE:   Captioned Phone Implementation

Dear Mr. Ruiz:

       We write with mounting concerns regarding Defendants’ delayed and ineffective
implementation of captioned phones statewide. The issue of accessible phones has been on the
Deaf/Hard-of-Hearing workgroup agenda at least 22 times over the last three years, yet
Defendants still have not meaningfully addressed clear barriers to phone access for people with
hearing disabilities.

        At the May 2023 workgroup meeting, Defendants announced that they planned to survey
the field to ascertain if captioned phones were available and accessible to class members. If they
were not, Defendants said they would address the issues and ask that Local Operating Procedures
(LOPs) be updated. We are very disappointed that after months of being told that the survey
would spur action to ensure that class members have knowledge of and access to captioned
phones, that is not the case. Instead, five months later, on October 5, 2023, we received survey
results that on their face showed clear implementation issues that Defendants had not identified
nor acted to correct.

       We shared our initial concerns during a workgroup meeting last month, and write now to
memorialize our concerns. In particular, we detail continued failures regarding class member
outreach and education, placement of phones, and installation – all issues we raised with
Defendants last year without any apparent action. We ask that you respond in writing with what
Defendants are doing to address these concerns in advance of our next workgroup meeting. Our
specific requests are numbered and listed in bold throughout the letter.

      Before addressing the survey results, we summarize the recent experience of
                 DPH, who arrived to San Quentin last month. His experience illustrates the
human impact of Defendants’ lack of action regarding inappropriate placement of captioned
phones and lack of staff and class member education on the use of the phones.

                                                  Board of Directors
                        Christiane Hipps, President and Treasurer  Seth Morris, Vice President
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                                  Claire McDonnel  Ruth Morgan  Adrienne Yandell
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        First, there is no clear process for signing up for and accessing the captioned phones at
San Quentin. Mr.            was initially housed in North Block and now is housed in South Block.
Neither has captioned phones. Mr.             asked the housing officers how to sign up for captioned
phones, and they told him there is no sign-up sheet and that he should go to Four Post, a small
yard office near the medical building and chapel some distance from the housing units (see layout
below, where Four Post is marked with an X), to use the captioned phones. When he arrived at
Four Post, officers there first told him he should go back and ask housing officers. When
Mr.          explained that the housing officers had sent him there, the Four Post officers told him
they were busy and he should come back later, between 11 am and noon. When he came back
later, Four Post officers told him to come back the next day instead. It took Mr.          several
days before he was able to try to use the captioned phone, and even then, only through the
intervention of another incarcerated person.

       As Mr.          explained, he thus is not able to schedule phone time when he needs to use
the phone, and instead is limited to when Four Post officers allow him to use the phone, “I have to
do it when [the officers] are not busy, on their time.” During a monitoring tour in May 2023,
Plaintiffs’ counsel confirmed the same; we asked Four Post officers if people are able to use the
captioned phone during their yard time, and the officers responded with an emphatic “No.”
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         Second, the location of the captioned phone at Four Post requires people with disabilities
to stand outside in the elements, including in the rain and cold weather, to use the phone. (When
representatives from the Prison Law Office visited San Quentin on October 31 to meet with
Mr.            it was 42 degrees at 8 am.) Mr.          is 65 years old and has significant medical
concerns, including being hypotensive and suffering acute illness a few days before his transfer to
San Quentin. Nonetheless, Mr.             was made to use the captioned phone while standing
outside. The captioned phone was passed through a window in Four Post and placed on a garbage
can with a lid on it that was pulled up outside the window: “They pull trash can around with lid
on it, put it by window, prop window open after pull screen out, hook it up, hand you the phone,
sit it [the phone] on the trash can.” An officer sat inside, very close to the window, and could see
and hear everything Mr.            was saying – a level of direct, in-person surveillance hearing
people do not have when speaking with loved ones on the phone. Mr.                 explained that this
placement limits his ability to access the phone: “If bad weather, too cold, outside the house,
don’t have the privacy everyone else got. I won’t be making very many phone calls, especially
with bad weather.”

       Third, neither Mr.         nor staff appear to have been educated on how to use the
captioned phone. When Mr.           first tried to use the captioned phone at San Quentin, it did
not work. He asked the Four Post officer if there was anyone trained to help him use the
captioned phone. He reported that the officer “shrugged his shoulder and said, ‘No.’” Mr.
was able to make a phone call using the captioned phone only with the assistance of another
incarcerated person. See Court Expert’s Second SATF Report, ECF 3500 at 13 (“Class members
who may use the caption phones should be trained in how to use them independently, and we
recommend that CDCR provide guidance to the institution on how to train the deaf and hard-of-
hearing population on the use of these devices.”).

       Please explain:

       1.     How does someone sign up to use the captioned phones at San Quentin? Please
              produce all relevant documentation, including LOPs, flyers, and class member
              education.

       2.     Whether and when officers assigned to Four Post were educated on how to use
              captioned phones and when and how people may access captioned phones.
              Please produce all relevant training material.

       3.     Whether, where, and how captioned phones are available at San Quentin for
              confidential legal calls.

       4.     What San Quentin is doing to ensure that captioned phones are available in
              housing units, including timelines for any new installations of outlets.
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       5.     How San Quentin will ensure that people have sufficient access to the
              captioned phone at Four Post, including how people will be allowed to use the
              phone while inside and be protected from the elements.

       6.     What Defendants, at the headquarters level, will do to ensure that other
              prisons do not have problems similar to those at San Quentin.

                                              *****

I.     INADEQUATE OUTREACH TO AND EDUCATION OF CLASS MEMBERS

       A captioned phone is a phone that has a built-in screen that displays in text what the
receiving person on a call is saying. Captioned phones may be used by people who are deaf or
hard of hearing and who communicate by speaking (those who cannot speak will need to use a
videophone or TTY). This means that people with a hearing disability code of both DNH and
DPH may benefit from using captioned phones. (For example, someone designated DNH may be
able to use hearing aids to hear in closed-door, one-on-one medical encounters, but require an
accessible phone to hear loved ones in a noisy dayroom.)

        Robust education of this population to new assistive devices is critical. See, e.g., Marylyn
Howe, Meeting the Needs of Late-Deafened Adults, 19 Am. Rehabilitation 25, *3 (Winter 1993)
(“[I]t often takes late-deafened adults years to learn about coping strategies, assistive technology,
and their basic rights to communication access.”).

       The survey results show that institutions’ outreach and education efforts were inadequate.

      First, ADA staff in at least two prisons – ASP and CCI – apparently do not understand that
people designated DNH may benefit from captioned phones. Both responded to the survey: “N/A,
no Deaf/HoH population.” But ASP has 60 people designated DNH and CCI has 44 people
designated DNH. Similarly, CEN responded to a different question with: “CEN is not designated,
but when there is a need [a captioned phone] will be accessible via the watch office,” which
suggests that CEN incorrectly assumed that captioned phones are only for people designated DPH
(and not DNH).

       Second, at least ten prisons (CAL, CCWF, CEN, CIM, CMF, COR, ISP, SATF, SOL,
PBSP) relied solely on outreach to Inmate Advisory Council (IAC) members. That is insufficient.
As an initial matter, it is not clear how the IAC members were expected to identify people who
might benefit from the device and train them – many people with disabilities are not comfortable
having their disability and disability needs known by other incarcerated people. In any event,
Defendants must directly inform and educate people with disabilities as to assistive technology
that might help them.
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       Third, at least three institutions – CVSP, LAC, and VSP – updated or created written
policies or procedures but apparently made no effort to communicate the policies or procedures
with deaf and hard-of-hearing people.


              Prison’s Response to: “Please                 Plaintiffs’ Comments
            provide a brief statement on how
             will the Caption Phone info be
            communicated to your Deaf/HoH
             populations. i.e. how it works?”
 CVSP “We have an operational procedure           This response does not explain how
      that is available to all inmates in each    people will be educated about the
      facility Library. Should an inmate          availability of captioned phones.
      need additional assistance with             People should not be expected to
      effective communication a staff             constantly monitor the Operational
      assistant would assist them,                Procedures in each library.
      commiserate [sic] with their
      individual needs.”
 LAC     “A detailed card will be with the        This response does not explain how
         captioned phone with written, simple     people will be educated about the
         instructions as to how they work.”       availability of captioned phones.
 VSP     “Caption Phone information was           This method does not explain how
         added to the ADA Orientation as          people currently housed at VSP will be
         well as the CDCR 128 B orientation       educated about captioned phones.
         chrono.”

      Fourth, several prisons stated that they would post flyers or send messages to people
through the tablet or institutional mail (SQ, SVSP, PVSP, CHCF). We cannot opine on the
adequacy of that without seeing what was sent to people.

       It therefore is clear that institutions require additional direction on how to directly and
accessibly communicate the availability of captioned phones and how they work to people who
are deaf or hard of hearing.

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       Please produce:

       7.     All direction to institutions regarding how they should directly and accessibly
              communicate the availability of captioned phones to all people designated DPH
              or DNH.

       8.     All written information provided to deaf and hard-of-hearing people at each
              institution about captioned phones at each institution, and provide the date
              that information was posted or shared with such people, the manner of
              distribution, and the people to whom it was distributed.

       9.     All LOPs for all institutions related to captioned phones.

II.    INAPPROPRIATE CAPTIONED PHONE LOCATIONS

        Plaintiffs’ counsel has, for years, raised concerns about the inappropriate placement of
captioned phones in the program offices and/or sergeants’ offices, both in writing and during
numerous workgroup meetings. We also reviewed each CDCR-line LOP and on May 2, 2023, we
provided Defendants with a list of issues related to the locations where captioned phones were
installed. We are deeply concerned that five months later, CDCR’s survey yielded similar results
with no apparent corrective action based on the information we provided months ago.

       Based on the prisons’ survey responses, it seems that at least twelve prisons (ASP, CAL,
CEN, CIM, COR, CRC, CVSP, FSP, PBSP, SCC, VSP, WSP) have captioned phones available
only in program, sergeants’, or lieutenants’ offices. Others, like CMF, NKSP, SAC, SATF,
SVSP, and SQ, have captioned phones in several housing units but not all of them. This is
inappropriate. These locations are inconvenient, not available at all hours that hearing people can
make phone calls, and potentially puts people with disabilities at risk because their presence at the
program office can cause others to think they are “snitching” on other people. As in Mr.
case at San Quentin, the only captioned phone available to him is in an area where he must stand
outside, exposed to the elements.

        It is particularly inappropriate to locate captioned phones in inconvenient locations when
Defendants still have not ensured equal access to voice and video calls made through tablets. That
is, hearing people can call their loved ones from their cells, during lockdowns and modified
programming. Not only can deaf and hard-of-hearing people not do that, they also apparently
cannot access captioned phones during those times.

        It is unclear why institutions have severely restricted captioned phone availability and
whether headquarters has directed them to ensure that phones are available at the same times and
in the same locations as “regular” phones are available for hearing people. At San Quentin, for
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example, we were told that West Block does not have an outlet for a captioned phone. It is not
clear that San Quentin, or headquarters, have taken any action to address that by, for example,
installing an outlet.

        It also is unclear whether captioned phones are in fact available in the locations listed.
Although San Quentin lists a captioned phone in H-unit, when we visited in October 2023, the
regular housing officer did not know what a captioned phone was or that it was supposed to be
available at the prison. After the ADA Coordinator made a few calls, we were told the phone was
in the program office, but we went to the program office and we and on-duty supervisory staff
were unable to locate it.

       We also are disappointed that Defendants’ survey did not address another issue we have
raised repeatedly over the past few years – whether and how captioned phones will be made
available in confidential, private settings for legal calls.

       We request:

       10.   That Defendants direct all institutions to make captioned phones available in
             all housing units and other locations where phones are available to hearing
             people. Please provide a copy of such direction. If institutions cannot make
             captioned phones available in all housing units at all prisons, please explain
             why not and explain what alternative will be made to ensure equal access to
             phones, including when and how people can access them.

       11.   Please explain, for all institutions, whether and how captioned phones are
             available for confidential legal calls.

III.   INSTALLATION ISSUES

       Since the captioned phone implementation memorandum was issued in December 2021,
Plaintiffs’ counsel has tried to work with Defendants to resolve installation issues. However,
during the October 2023 workgroup meeting, Defendants stated that thirteen prisons still do not
have working captioned phones because of installation or technical issues. (We are not sure which
these prisons are; only six prisons noted installation issues in their survey responses.)

        The COR survey response, for example, states: “Phone line is not compatible with caption
phones. Captioned phones are only able to run on an analog line.” This shows that headquarters
staff need to work closer with prisons to troubleshoot and provide resources to address
installation issues. Plaintiffs’ counsel understood that the specific model CDCR purchased was
supposed to be able to run on either digital or analog lines, CapTel offers models for both analog
and for digital lines.
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       Please explain:

       12.    Who from headquarters has been assigned to work with prisons to make sure
              they purchase the right captioned phone model and to troubleshoot any
              technical issues?

       13.    Which 13 prisons still do not have functional captioned phones, what
              specifically is the problem, what is the plan to ensure they have functional
              captioned phones, and what is the timeline for implementation?

      Thank you for your immediate attention to this matter. We look forward to your written
response to this letter and to further discussions in the workgroup. Please contact us if you have
any questions or concerns.

                                                        Sincerely yours,

                                                        Claudia Ceseña
                                                        Legal Fellow

                                                        Rita Lomio
                                                        Senior Staff Attorney


cc:    Co-counsel
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       Tamiya Davis, Patricia Ferguson, Nicholas (Nick) Meyer, Chor Thao, Ramon Ruiz, Ava
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       Jefferson, Jason Andreson, Dawn Lorey, Jane Moses, Joshua (Jay) leon Guerrero, Aaron
       Perez, CCHCS Accountability (CCHCS)
       Sharon Garske, Trace Maiorino, Sean Lodholz, Olena Likhachova, Anne Kammer,
       Gurpreet Sandhu (OAG)
